October 14, 2021
Tina Jarvis
Permits Coordinator
Maryland Department of Natural Resources
Wildlife and Heritage Service
Via e-mail: tina.jarvis@maryland.gov
Re:     Request to Investigate Tri-State Zoological Park of Western Maryland,
Inc. for Apparent Violations of its Scientific Collecting Permit (No.
56207)
Dear Ms. Jarvis:
I am writing on behalf of PETA to request that the Maryland Department of
Natural Resources (MDDNR) investigate Tri-State Zoological Park of Western
Maryland, Inc. (Tri-State) and its owner and operator, Robert (aka Bob) Candy,
for releasing a non-releasable opossum in apparent violation of the terms and
conditions set forth in Tri-State’s MDDNR scientific collecting permit (No.
56207).
MDDNR regulations require a person to obtain a permit from the Wildlife and
Heritage Service before possessing any live wildlife for release into the wild.
Md. Code Regs. 08.03.09.04(A). The term “wildlife” is defined broadly to
include “every living creature, not human, wild by nature, endowed with
sensation and power or voluntary motion.” Md. Code Ann., Nat. Res. § 10-




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101(dd)(1). Once issued, a permit may be suspended or revoked if a permittee
violates the terms and conditions of the permit or any state or federal wildlife
laws or regulations. Id. § 10-911(a).
Tri-State currently holds a scientific collecting permit that allows it to possess
several “non-releasable animals,” including two opossums. Ex. 1, Tri-State
Scientific Collecting Application and Permit. While there is no reference to
“non-releasable animals” in the statute or regulations governing scientific
collecting permits, the regulations addressing wildlife rehabilitation—an
activity for which Tri-State does not hold a permit—defines “non-releasable
wildlife” as “an animal that cannot be released because of permanent injury,
degenerative physical condition as a result of illness, or habituation to humans
that would significantly reduce the chance of the animals surviving in the wild.”
Md. Code Regs. 08.03.12.02(B)(5).
Like the statute governing MDDNR permits, the general conditions of Tri-
State’s 2021 permit make clear that the agency may revoke a permit for
violations of the permit’s terms and conditions. Ex. 1, Tri-State Scientific
Collecting Application and Permit. One of the conditions of Tri-State’s permit
requires that all activities authorized in the permit “be carried out in accord with
and for the purposes described in the application submitted.” Id. On its January




                                                                                                                                                  EXHIBIT F
2, 2021 renewal application, Tri-State indicated that it was in possession of two opossums, describing
them as being “[k]ept as pets (mom killed), not releasable, under vet care[.]”1 Id.
According to records PETA obtained from Tri-State, the facility released an opossum named Sir
Vivor on July 15, 2021 “after [one] year [of] rehab care.” Ex. 2, Tri-State Animal Records. During a
deposition on August 11, 2021, Mr. Candy confirmed that Tri-State released this opossum after
purporting to have rehabilitated the opossum despite not holding an MDDNR wildlife rehabilitator
permit. Ex. 3, Excerpt from Tri-State and Animal Park, Care, & Rescue, Inc. Deposition, at 91:4_15.
A wildlife rehabilitator permit is required before a person may rehabilitate wildlife, and a violation of
this requirement is a misdemeanor. Md. Code Regs. 08.03.12.04(A); Id. 08.03.12.24. Mr. Candy
nevertheless claimed that his MDDNR permit authorized him to release the opossum and that he went
to the agency’s office in person to “mak[e] sure [he] could release it.” Ex. 3 at 91:16_92:1.
The bare description provided in Tri-State’s application indicates that the non-releasable opossums
were “kept as pets”—significantly reducing their chance of survival in the wild. There are no
provisions in Tri-State’s permit allowing for their release into the wild. And Tri-State’s application
does not seek approval to do so, meaning that Tri-State’s release of a non-releasable animal is an
activity that is not being carried out in accordance with the purposes described in its application. By
releasing wildlife that were explicitly listed in its 2021 application and permit as “non-releasable,”
Tri-State has apparently violated the terms and conditions of its scientific collecting permit,
subjecting its permit to suspension or revocation. Mr. Candy also claimed that he rehabilitated an
animal without the requisite permit, which may constitute a separate violation of Md. Code Regs.
08.03.12.04.2




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Accordingly, PETA respectfully requests that the MDDNR investigate Robert Candy and Tri-State
for releasing a non-releasable opossum in apparent violation of the conditions in Tri-State’s scientific
collecting permit after purportedly rehabilitating the animal without the requisite wildlife rehabilitator
permit. Please hold all responsible parties fully accountable for any violations you find, including by
revoking Tri-State’s permit pursuant to Md. Code Ann. § 10-911(a).
Could you please let me know of the outcome of your investigation?
Very truly yours,
Jonathan Morris
Counsel, Captive Animal Law Enforcement
360-994-0336 | JonathanM@petaf.org
1
Tri-State’s Records for Sir Vivor apparently provide a differing account, explaining that the opossum was found at
Sheetz, a convenience store located in Cumberland, Maryland. Ex. 2, Tri-State Animal Records.
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The U.S. Department of Agriculture (USDA) issued Tri-State a citation this year for failing to maintain adequate
outdoor facilities for several species of animals, including those species of wildlife listed on Tri-State’s scientific
collecting permit, apparently providing independent grounds for the suspension or revocation of Tri-State’s permit
pursuant to Md. Code Ann., Nat. Res. § 10-911(a). Ex. 4, USDA citation of Tri-State (Jan. 8, 2021).
2
August 2, 2021
Robert M. Gibbens, D.V.M.
Director, Animal Welfare Operations
USDA-APHIS-Animal Care
Via e-mail:       robert.m.gibbens@usda.gov
Re:     Request for Investigation of Tri-State Zoological Park of Western Maryland,
Inc. (51-C-0064)
Dear Dr. Gibbens:
On behalf of People for the Ethical Treatment of Animals, Inc. (“PETA”) and its more
than 6.5 million members and supporters, I am writing to request that the USDA
investigate Tri-State Zoological Park of Western Maryland, Inc. (“Tri-State”), a
roadside zoo owned and operated by Robert Candy, for failing to employ an attending
veterinarian under formal arrangements and maintain a written program of veterinary
care (“PVC”) in violation of 9 C.F.R. § 2.40(a).
According to deposition testimony obtained by PETA in a pending federal lawsuit,
Collins v. Tri-State Zoological Park of Western Maryland, Inc., Case No. 1:20-cv-
01225 (D. Md.), Tri-State has not had an attending veterinarian or an operative program
of veterinary care since approximately the spring of 2020. Tri-State’s last attending
veterinarian, Dr. Gale Duncan of Mountainview Veterinary Services, last visited Tri-
State on October 3, 2019, and, sometime thereafter, stopped serving as Tri-State’s
attending veterinarian. On June 30, 2021, Dr. Duncan testified that she parted ways




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with Tri-State due to “chronic noncompliance” with “veterinar[y] medical
recommendations,” including “euthan[asia], referrals, . . . medications, [and] medical
procedures” that were “declined or refused by Mr. Candy.” Exh. 1 Deposition Tr. of
Dr. Gale Duncan (June 30, 2021) (“Duncan Tr.”) at 11:6–15, 13:5–20; see also, e.g.,
id. at 39:11–42:16 (testimony regarding the “suffering” mountain lion, Charlie, who
Mr. Candy’s refused to euthanize); id. 80:3–6 (testifying that Mr. Candy had
“chronically declined intervention and delayed treatment for other animals”).
During Dr. Duncan’s tenure as Tri-State’s attending veterinarian, Tri-State did not have
a comprehensive PVC for all the animals at its facility. According to Dr. Duncan, the
primates, reptiles, birds, coatimundis, kinkajous, porcupine, and opossums at Tri-State
were not included in its PVC because “there were certain species that [Dr. Duncan] had
not agreed to be the attending veterinarian for because [she] did not feel that [she] was
qualified to treat those species[.]” See, e.g., Exh. 1, Duncan Tr. at 20:22–24:3.
Since Dr. Duncan’s departure, Tri-State has informally consulted with Dr. Keith Gold
of Chadwell Animal Hospital in Abingdon, Maryland. However, as of July 22, 2021,
Dr. Gold was not employed under formal arrangements and, aside from creating
purported enrichment plans for the singly-housed primates at Tri-State, no program of
veterinary care was established. See Exh. 2, Deposition Tr. of Dr. Keith Gold (July 15,
2021) at 39:1–6 (“Q. Are you currently the attending veterinarian for the animals at
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Tri-State? A. I am helping him out. We have no official paperwork or anything like that, but I am more
than willing to help him with his animals right now; yes.”); id. 51:4–10 (“Q. [D]id you ever create a
written program of veterinary care for the animals at Tri-State? A. No. Like I said, we’re just in the
beginning process.”); id. 177:13–15 (“I’m not a Tri-State veterinarian. I’m a veterinarian that helps
Tri-State.”).
During Dr. Gold’s tenure as a consulting veterinarian for Tri-State, several species of animals exhibited
at the facility—including the wolf, kinkajous, sheep, goats, donkey, miniature horses, geese, turkeys,
peacocks, ducks, and chickens—have not been provided any care, routine or otherwise. See Exh. 3,
Deposition Tr. of Dr. Keith Gold (July 22, 2021) at 18:16–19:2; 108:19–109:3.
As you know, the employment of an attending veterinarian and the establishment of a program of
veterinary care to prevent, control, diagnose, and treat diseases and injuries, are critical to ensuring that
animals at regulated facilities are provided with adequate veterinary care.
PETA urges you to investigate and ensure that Tri-State employs a qualified veterinarian with
sufficient authority to ensure the provision of adequate veterinary care for the animals, and that a PVC
is established and followed. Please also ensure that animals at Tri-State are being provided with
adequate veterinary care, space, shelter, food, and water and are otherwise handled in accordance with
the AWA, and hold Tri-State fully accountable for all violations that you discover during your
inspection.
As the USDA is, or should be aware, during the pendency of PETA’s Endangered Species Act citizen-
suit, which went to trial in November, 2019, five of the nine species at issue in that suit died as a
consequence of Tri-State’s substandard care. United States District Court Judge Paula Xinis, who, after




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a six-day bench trial issued a permanent injunction barring Tri-State from ever owning or exhibiting
any endangered or threatened species ever again, described Tri-State as “fetid and dystopic,” finding
that “the uncontroverted testimony reflects that every animal at issue suffered under Tri-State’s living
conditions.” People for Ethical Treatment of Animals, Inc. v. Tri-State Zoological Park of W.
Maryland, Inc., 424 F. Supp. 3d 404, 408 (D. Md. 2019), aff’d, 843 F. App’x 493 (4th Cir. 2021), cert.
denied sub nom. Tri-State Zoo of Md, et al. v. PETA, No. 20-1183, 2021 WL 2637860 (U.S. June 28,
2021). The USDA must act to stop the suffering of the remaining species at Tri-State.
Thank you for your attention to this important matter. Please inform me of the complaint number that
your agency assigns to this correspondence.
Very truly yours,
Brittany Peet, Esq.
Deputy General Counsel, Captive Animal Law Enforcement
PETA Foundation
BrittanyP@petaf.org | 202-251-4995
Attachments
2
March 31, 2020
Robert M. Gibbens, D.V.M.
Director, Animal Welfare Operations
USDA-APHIS-Animal Care
Via e-mail:     robert.m.gibbens@usda.gov
Re:    Request for Nonrenewal and/or Termination of Tri-State Zoological Park
of Western Maryland Inc.’s Animal Welfare Act License
Dear Dr. Gibbens:
On behalf of People for the Ethical Treatment of Animals, Inc. (PETA) and its more
than 6.5 million members and supporters, I am writing to request that the USDA
terminate and/or deny the renewal of Animal Welfare Act (AWA) exhibitor license
number 51-C-0064, issued to Tri-State Zoological Park of Western Maryland, Inc.
(“Tri-State”), a roadside zoo owned and operated by Robert Candy.
The USDA cannot lawfully renew Tri-State’s license, which is set to expire on
April 30, 2020. As part of the renewal process, Tri-State must certify that its facility
“is in compliance with the regulations and standards” of the AWA. 9 C.F.R.
§ 2.2(b). Regardless of what Tri-State certifies, its operations are grossly and
consistently out of compliance with AWA standards. See Animal Legal Defense
Fund, Inc. v. Perdue, 872 F. 3d 602, 619 (D.C. Cir. 2017). As detailed in the
attached appendix, a recent memorandum opinion by the United States District
Court for the District of Maryland, which describes the conditions at Tri-State as




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“fetid and dystopic,” and evidence presented at the trial which resulted in that
opinion, highlight some of Tri-State’s egregious AWA violations, many of which
persist. See People for Ethical Treatment of Animals, Inc. v. Tri-State Zoological
Park of W. Maryland, Inc., (No. 17-02148), 2019 WL 7185560, at 2 (D. Md. Dec.
26, 2019) (hereinafter, “Mem. Op.”) [Exh. 1].
When the record before the agency is replete with evidence documenting that an
exhibitor’s self-certification of compliance with the AWA is blatantly false, it is
arbitrary and capricious for the USDA to rely on that certification for demonstrating
that the facility complies with AWA standards—a requirement for issuing a license.
7 U.S.C. § 2133; Perdue, 872 F.3d at 619. Because the USDA cannot rely on the
exhibitor’s self-certification of compliance, and because the evidence shows Tri-
State’s operations are “routinely and currently out of compliance with AWA
standards,” the USDA cannot lawfully issue a renewal. Perdue, 872 F.3d at 620.
In addition, the USDA should terminate Tri-State’s license because Tri-State, along
with Mr. Candy, have flagrantly violated federal laws pertaining to the welfare of
animals. See 9 C.F.R. § 2.11(a)(6) (prohibiting the issuance of AWA licenses to
anyone who has been found to violate Federal or State laws pertaining to the
ownership or welfare of animals); see also id. at § 2.12 (authorizing license termination on this basis).
Specifically, following a six-day bench trial, a federal judge found that Tri-State violated the
Endangered Species Act , 16 U.S.C. §§ 1531-11544, and its implementing regulations by, inter alia,
denying animals proper veterinary care, failing to meet the animals’ basic nutritional needs, and
keeping the animals in chronically filthy environments. See Exh. 1, Mem. Op.
Indeed—as evidenced by the U.S. District Court’s order, which permanently enjoined Tri-State and
Mr. Candy from owning or possessing any federally-protected species and terminated their ownership
and possessory rights in the lion and tigers at Tri-State, as well as by evidence that surfaced during the
pendency of that matter—renewal of Tri-State’s license would be contrary to the purposes of the AWA
and would be arbitrary, capricious, and an abuse of discretion.
Very truly yours,
Zeynep J. Graves, Litigation Manager
ZeynepG@petaf.org | 323-210-2263
Attachment
cc: aceast@aphis.usda.gov
Stephen Vaden, General Counsel, USDA (stephen.vaden@ogc.usda.gov)




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APPENDIX
I.        Background
Tri-State has a long history of violating the Animal Welfare Act (“AWA”) and demonstrated
inability to provide proper care for its animals—as evidenced, in part, by multiple premature deaths
marked by horrific suffering and neglect at its facility, see Section II infra, and its more than
seventy AWA citations issued by the USDA since 2008.1 Indeed, Tri-State’s chronic and willful
disregard for animal welfare led to a forty-five day suspension of the facility’s AWA license in
2013 and an official warning against the facility in 2015.2 Recent evidence outlined herein
confirms Tri-State’s ongoing AWA violations and flagrant disregard for the welfare of animals in
its care.
Some of Tri-State’s most egregious conduct negatively affecting the welfare of the animals in its
care was highlighted in PETA’s recent lawsuit against Tri-State, Robert Candy, and Animal Park,
Care & Rescue, Inc. (the “Defendants”), in which PETA alleged and proved numerous violations
of the Endangered Species Act (“ESA”), 16 U.S.C. §§ 1531-11544, and its implementing
regulations. People for the Ethical Treatment of Animals, Inc. v. Tri-State Zoological Park of
Western Maryland, Inc., No. 17-02148 (D. Md. 2019) (the “ESA Action’). The summary judgment
and trial orders in the ESA Action, as well as the evidence that surfaced in that case, demonstrate
Tri-State’s complete disregard for the welfare of the animals in its care—a pattern of neglect that
is underscored by the deaths of one lemur (Bandit), three tigers (Cayenne, Kumar, and India), and
one lion (Mbube aka “Bu”), who all suffered greatly prior to death. Indeed, since PETA notified
Tri-State of its intent to file suit in December 2016, five of the nine animals at issue in the ESA




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Action “died early and tragic deaths,” Exh. 1, Mem. Op. at 10—each of whom was denied adequate
veterinary care in addition to other basic necessities required under both the ESA and the AWA.
On December 26, 2019, following a six-day bench trial in the ESA Action, the United States
District Court for the District of Maryland found in favor of PETA on all theories of liability
presented at trial. Id. at 1. The court—which described the conditions of the animals at Tri-State
as “fetid and dystopic” and noted that “[f]ilth and feces dominate Tri-State,” id. at 2—entered a
declaration that Defendants violated the ESA and its implementing regulations by unlawfully
taking nine federally protected animals and by possessing two tigers and one lion who were
unlawfully taken. Order at 1-2, People for the Ethical Treatment of Animals, Inc. v. Tri-State
Zoological Park of Western Maryland, Inc., No. 17-02148 (D. Md. Dec. 26, 2019) [Exh. 5]. The
court also enjoined Defendants from continuing to violate the ESA, and enjoined Defendants, their
officers, agents, and others from owning, acquiring, or possessing any endangered or threatened
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Compendium of Tri-State’s non-compliant USDA Inspection Reports [Exh. 2].
2
Tri-State Zoological Park of Western Maryland, Inc. et al., AWA Docket No. 11-0222, 72 Agric. Dec.
128 (U.S.D.A. Mar. 22, 2013) (Decision and Order) [Exh. 3]; USDA, Official Warning Violation of Federal
Regulations, Tri-State Zoological Park of Western Maryland (51-C-0064), Case No. MD150021 (May 28,
2015) [Exh. 4].
3
species of animals in the future. Id. at 2.3 The surviving tigers and lion have since been transferred
to The Wild Animal Sanctuary (84-C-0019) per the court’s order.
As explained below, Tri-State’s license should be revoked and renewal of its license would be
arbitrary, capricious, and an abuse of discretion, and contrary to the purposes of the AWA.
II.       The USDA should terminate Tri-State’s license due to violations of federal law.
The USDA should terminate Tri-State’s license due to its recent flagrant violations of federal laws
pertaining to the welfare of animals. Specifically, AWA regulations provide that:
A license will not be issued to any applicant who: . . . has been found to have
violated any Federal, State, or local laws or regulations pertaining to the
transportation, ownership, neglect, or welfare of animals, or is otherwise unfit to be
licensed and the Administrator determines that the issuance of a license would be
contrary to the purposes of the Act.
9 C.F.R. § 2.11(a)(6); see also id. at § 2.12 (authorizing license termination on these bases).
On December 26, 2019, the United States District Court for the District of Maryland found, in part,
that Tri-State and Mr. Candy violated the ESA by unlawfully “taking” each of the nine federally-
protected animals at issue, and continued to violate the ESA by unlawfully taking the surviving
big cats, Peka, Cheyenne, and Mowgli. See Exh. 1, Mem. Op. at 21. The ESA Action revealed Tri-
State’s chronic failure to provide animals in its care with necessary veterinary care, safe, sanitary
environments, adequate nutrition, and species-appropriate shelter from the elements, social groups,
and enrichment. As the court explained, “[t]he uncontroverted testimony reflects that every animal
at issue suffered under Tri-State’s living conditions,” id. at 1, and “the evidence overwhelmingly




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demonstrates that every protected animal has been harassed, harmed, or both in a most grievous
fashion at Tri-State,” id. at 17. The court’s specific findings are as follows:
_   Tiger (Kumar): The tiger Kumar—who died on July 7, 2019—was downed for ten days,
during which “he received no meaningful care.” Id. at 12. Tri-State did not give the tiger
any pain management, despite Kumar’s pain and obvious distress. Id. Instead of
euthanizing Kumar, per the attending veterinarian’s recommendation, “[Mr.] Candy chose
instead to let Kumar suffer.” Id. “[T]en days after first being found down and immobile
and seven days after being unable to eat food without being syringed into his mouth, Kumar
died.” Id. “[T]he manner of [the tiger Kumar’s] death indisputably demonstrates that
Defendants harmed him. His necropsy reflects that he suffered for months before his death,
from broken, pulp-exposed teeth, ulcerated gums, and a punctured lip. . . . Similarly,
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Although an appeal is currently pending in the Fourth Circuit, Tri-State has not challenged the District
Court’s findings that it has violated the ESA. Brief of Defendants-Appellants at 6-7, People for the Ethical
Treatment of Animals, Inc. v. Tri-State Zoological Park of Western Maryland, Inc., Case No. 20-1010 (4th
Cir. 2020) [Exh. 6]. Moreover, despite the appeal, the United States Court of Appeals for the Fourth Circuit
rejected Tri-State’s request to prevent the animals’ transfer to The Wild Animal Sanctuary pending
conclusion of the appeal. Order, People for the Ethical Treatment of Animals, Inc. v. Tri-State Zoological
Park of Western Maryland, Inc., Case No. 20-1010 (4th Cir. Jan. 27, 2020) [Exh. 7].
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Kumar’s paws and hind leg were pocked with ulcers most likely caused by the filthy
concrete on which Kumar had dragged his body while Defendants left him to suffer after
his spinal stroke. Defendants’ complete failure to treat Kumar’s mouth and paws, while
leaving him to languish in filthy surroundings, caused injury to Kumar and disrupted his
normal behaviors such that he was both harmed and harassed in violation of the ESA.” Id.
at 20 (internal record citations omitted). “The lack of veterinary care during the days
leading up to [the tiger] Kumar’s death also injured Kumar and significantly disrupted his
normal behaviors, such that it constitutes both harm and harassment under the ESA.” Id.
_   Tiger (India): The tiger India was also “harassed and harmed directly by Defendants.” Id.
at 20. India died of sepsis on August 14, 2019, and pathology reports indicated that painful
“pus-filled pockets had formed in her heart, tongue, and diaphragm.” Id. at 13. “For more
than a month, Defendants allowed the virulent infection to ravage India. She barely ate or
moved yet was given no care. In fact, Candy expressly refused to secure medical
treatment—even when Dr. Duncan [Tri-State’s attending veterinarian] told him that failure
to do so would lead to her death. And, while opting to ignore treatment, Defendants
simultaneously failed to provide her with anything to ease her severe pain.
. . . Unquestionably Defendants are directly responsible for India’s death. Their violation
of the ESA is patent.” Id. at 20 (internal record citations omitted).
_   Tigers: “[D]efendants[’] provision of squalid living conditions harassed the tigers. The
tigers’ concrete dens, in which they have been confined for their entire lives, defy generally
accepted husbandry practices. The record evidence shows the swimming pool den as a




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dirty, dilapidated pen. The water in the outdoor enclosures is similarly filthy, static and
filled with feces. The water in the indoor enclosures, too, is dirty and sits in uncleaned
bowls. Failure to clean routinely the animals’ enclosures squarely disregards industry
standards” Id. at 19 (internal record citations omitted).
_   Tigers: “[T]he barren enclosures and lack of enrichment deprive the tigers of their ability
to ‘engage in their natural behaviors . . .’ Further, the ‘lack of enrichment leads to boredom
and the development of abnormal behaviors such as pacing, excessive grooming, and other
potentially self-injurious behaviors.’ The enclosures are also deficient in that their lack of
insulation and adequate cooling and shade puts the tigers at risk of hypothermia,
dehydration, and damage to the cats’ pads and mucous membranes, as well as overheating,
. . . heat sickness, and stroke. Overall, the tigers’ enclosures are so far removed from their
natural habits and from accepted husbandry practices that they significantly disrupt a
multitude of typical tiger behaviors and put the tigers at a high likelihood of injury. As
such, they constitute ‘harassment’ of all the tigers (dead and alive) and violate the ESA.”
Id. at 19 (internal record citations omitted).
_   Tiger (Mowgli): “[The tiger] Mowgli is obese. His muscles are flaccid. He has suffered for
years with a skin infection that can easily be diagnosed, but has yet to be, and which is
likely easily treated, but has not been. . . . Defendants have injured Mowgli and as such,
have harassed and harmed him in violation of the ESA.” Id. at 20.
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_   Lions: “[T]ri-State’s deplorable conditions have harassed [lions] Peka and Mbube. Each
has lived in isolation and were given no ‘social interactions [that] are integral to the well-
being of lions.’ For years, neither Bu or Peka had any chance to engage in a wide range of
normal social behaviors, such as grooming, stalking, hunting, and play. Their enclosures
are barren. They are exposed to harsh temperatures with little reprieve. . . . The creation
and perpetuation of drastic conditions has foster[e]d the likelihood of serious injury to Peka
‘by annoying it to such an extent as to significantly disrupt normal behavioral patterns.’”
Id. at 18 (internal record citations omitted).
_   Lion (Peka): “It is undisputed that [the lion] Peka . . . suffers from an abnormal gait yet has
never been examined or treated for it. The abnormal gait likely causes Peka discomfort and
pain and puts her at risk of further joint problems such as degenerative joint disease.
. . . Defendants’ failure to diagnose and treat Peka’s gait abnormality constitutes
harassment under the ESA.” Id. at 15, 18 (internal record citations omitted).
_   Lion (Mbube): “The uncontroverted evidence . . . reveals that [the lion] Bu met a slow and
painful demise without any real veterinary care. . . . For Bu’s entire life, Defendants
provided him no veterinary care. . . . It is without question that Defendants have harmed
Mbube, to the point of a painful death, and in violation of the ESA.” Id. at 10, 19.4
_   Lemurs (Bandit and Alfredo): “Defendants subjected [lemurs] Bandit and Alfredo to an
onslaught of environmental assaults that harassed and harmed them. Bandit lived largely
in isolation and contrary to his normal species behavior. He, and later with Alfredo, were
deprived of any real opportunity to act as lemurs do. In a stark environment, Bandit and




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Alfredo could not forage, explore, mark, or engage in other normal behaviors. Defendants
further harassed the lemurs by surrounding them with filth and a natural predator. Smells
of lingering urine and feces disrupted their olfactory communications and their ability to
scent-mark and put them at high risk of physical pain and permanent physical damage to
their mucous membranes. Defendants also failed to protect the lemurs from the elements
for nearly half of calendar year 2015. . . . The lemurs’ isolating, barren, freezing, dirty,
stress-inducing enclosure essentially stripped Bandit and Alfredo of almost of all of their
natural behaviors, creating a high likelihood of both psychological and physical injury. As
such, Defendants harassed both Bandit and Alfredo in violation of the ESA.” Id. at 21
(internal record citations omitted).
_   Lemur (Bandit): The lemur “Bandit . . . suffered from a protracted respiratory infection for
nearly two years, from 2016 till his death in January 2018. . . . It is also beyond dispute that
Bandit exhibited signs of significant distress. Both [experts] opine that Bandit’s ripping at
his penis represented a long-term condition due to chronic stress and anxiety. Because
Bandit suffered no underlying medical condition to explain his mutilated genitals, and in
combination with the deplorable conditions in which Bandit lived every day—isolation or
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On October 6, 2016, the USDA cited Tri-State for failing to provide the lion Mbube with adequate
veterinary care and directed Tri-State to have a veterinarian with exotic cat experience examine the lion by
October 10, 2016. Exh. 2, supra note 1 at 82. Critically, as trial evidence in the ESA Action revealed, Tri-
State failed to comply with the USDA’s simple directive. See e.g., id.; see also Exh. 1, Mem. Op. at 10.
6
near isolation, stinky filth, predators nearby—the Court credits PETA’s experts’
conclusion that Bandit's self-mutilation was in ‘response to chronic distress.’
. . . [D]efendants’ chronic lack of care to [lemur] Bandit harmed him. The Court further
finds that Bandit’s self-mutilation was mostly likely the result of significant distress that
was the natural byproduct of his living at Tri-State. Because Defendants confined Bandit
to an environment that disrupted his normal behaviors leading to his self-mutilation, and
because they then failed to monitor, treat, and alleviate those life-threatening and ultimately
fatal injuries, they have both harmed and harassed Bandit in violation of the ESA.” Id. at
11-12, 21 (internal record citations omitted).
In addition to the above holdings, the court also found at the summary judgment stage of the ESA
Action that Tri-State violated federal law by failing to provide a now-deceased tiger named
Cayenne with adequate veterinary care. People for the Ethical Treatment of Animals, Inc. v. Tri-
State Zoological Park of W. Maryland, Inc., 397 F. Supp. 3d 768, 776 (D. Md. 2019) [Exh. 8].
Specifically, the court held that “‘Cayenne died due to the lack of basic veterinary care,’” after
being anesthetized by Tri-State’s attending veterinarian, Dr. Gale Duncan, who admitted that “she
lacked any specialized experience or training in medical care for tigers.” Id. (internal quotation
marks omitted). Cayenne went into respiratory arrest after Dr. Duncan put her under anesthesia.
Id. at 773. Instead of reversing the anesthesia, Dr. Duncan continued with diagnostics despite the
fact that she “lacked the skills or equipment” to provide Cayenne with necessary support while
under anesthesia. Id. at 774. Then, “despite the high risk of an adverse reaction during the recovery
period, Dr. Duncan left Cayenne unattended during anesthetic recovery, where she suffered from




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a heart attack and died. Id. at 776.
The District Court’s opinions in the ESA Action highlights Tri-State’s “flagrant and persistent
violations” of federal law. See Exh. 1, Mem. Op. at 1. In light these years’ long, egregious
violations, as well as Tri-State’s demonstrated unfitness for licensure, the USDA should terminate
Tri-State’s license.
III.   Renewing Tri-State’s AWA license would violate the APA.
Agency action is unlawful under the Administrative Procedure act (APA) if it is “arbitrary,
capricious, an abuse of discretion, or otherwise not in accordance with law.” 5 U.S.C. § 706(2)(A).
Agency action is arbitrary and capricious in violation of the APA “if the agency has relied on
factors which Congress has not intended it to consider, entirely failed to consider an important
aspect of the problem, [or] offered an explanation for its decision that runs counter to the evidence
before the agency.” Perdue, 872 F.3d at 611 (quoting Motor Vehicle Mfrs. Ass’n v. State Farm
Mut. Auto. Ins. Co., 463 U.S. 29, 43 (1983)) (alteration in original).
As detailed below, Tri-State is not in compliance with the AWA and cannot demonstrate
compliance with the AWA and the regulations promulgated to ensure the humane care of animals.
While the USDA only conducted one inspection at Tri-State this past year, the facility’s history of
chronic noncompliance and its current, ongoing noncompliance are demonstrated extensively in
the evidence attached herein and discussed below.
7
A. Tri-State routinely denies animals adequate veterinary care.
Tri-State has demonstrated a pattern of failing to adequately prevent and treat serious, and in some
cases fatal, health problems, which has persisted since Tri-State’s last license renewal. Despite
Tri-State’s obligation to provide adequate veterinary care for its animals in accordance with AWA
regulations, see 9 C.F.R. § 2.40, the court in the ESA Action, which had an independent duty to
assess compliance with the AWA for the purposes of ESA liability, see Graham v. San Antonio
Zoological Soc’y, 261 F. Supp. 3d 711, 744 (W.D. Tex. 2017), determined that “[Tri-State] never
came close to complying with this regulation.” Ex. 1, Mem. Op. at 3 (emphasis added). The
following incidents exemplify Tri-State’s chronic and ongoing failure to provide animals in its
care with adequate veterinary care:
_   In September 2019, two Himalayan bears at Tri-State were observed to suffer from
“obvious chronic, severe and painful dental disease.”5 At that time, the bears were also
observed chewing on the enclosure fencing, which veterinary expert, Dr. Kim Haddad,
opined “further traumatiz[es] their teeth.”6 When these concerns were brought to the
attention of Mr. Candy and his attending veterinarian, Dr. Duncan, Mr. Candy responded
that the bears belonged to another zoo. Even if this were the case, AWA regulations
mandate that Tri-State—who has had custody of these bears for at least 6 years7—provide
adequate veterinary care to the animals in its care.
_   Kumar the tiger was denied adequate veterinary care for a prolonged period before his
untimely, long and painful death on July 7, 2019. Exh. 1, Mem. Op. at 12. Kumar—who
went down on June 27, 2019, and could not stand or eat—was observed dragging himself




                                                                                                       Case 1:20-cv-01225-PX Document 71-33 Filed 12/20/21 Page 12 of 67
approximately 30 feet across his enclosure. Id. Tri-State’s attending veterinarian “strongly
recommended euthanasia,” but Tri-State did not heed her advice. Necropsy results revealed
that Kumar suffered from chronic, untreated conditions that could have been easily
addressed in a timely fashion if Kumar had been provided with appropriate veterinary care.
For example, Kumar’s mouth was “riddled with ulcers, cuts, and other injuries . . . Large
portions of two canine teeth were missing, exposing raw pulp. One canine tooth had
punctured Kumar’s mandible, creating a deep, penetrating wound.” Id. at 13 (internal
record citations omitted). The ulcers, broken teeth, and wounds were “chronic” and
“consistently painful.” Id. Kumar also suffered from painful ulcers and lesions on his paw
pads and hind legs, which “presented as having developed over time.” Id. He also suffered
from a distended colon and “a two-centimeter long tear and hemorrhaging in the membrane
of his abdominal cavity.” Id. Not only did Tri-State deny Kumar adequate and timely
veterinary care, thereby allowing these painful conditions to persist for many years, his
suffering was also inexcusably prolonged due to Mr. Candy’s refusal to comply with his
attending veterinarian Dr. Duncan’s advice to euthanize Kumar.
5
Supplemental Expert Report of Kim Haddad (Oct. 29, 2019) at 22-24 [Exh. 9].
6
Id.
7
See USDA Inspection Report Inventory (Nov. 6, 2014) [Exh. 10].
8
_   The tiger India—who did not receive any routine examinations or preventative veterinary
care, id. at 13—was denied adequate veterinary care throughout her life and up until her
untimely death. While alive, India suffered from chronic flystrike: “[her] ears had been
eaten so badly and for so long that the veterinarian who performed her necropsy believed
that her ears had been ‘surgically truncated.’” Id. at 14. Despite this fact, Tri-State “did not
take steps to rectify the source of the problem. . .” Id. Evidence in the ESA Action further
showed that India died on August 14, 2019, of myocarditis and sepsis, the latter of which
was “likely due to an untreated or poorly treated bacterial infection and . . . the myocarditis
was in turn the result of the sepsis,” according to the pathologist that Tri-State engaged. Id.
13. Veterinary expert Dr. Kim Haddad opined that India’s enlarged heart is a condition that
is “‘considered incredibly painful . . . like having a heart attack,’” and that the “pus-filled
pockets in her heart and diaphragm made her every breath painful.” Id. at 13-14. A month
before India’s death, Mr. Candy’s notes reflected that India ate three times, and post-
mortem records indicated that, at the time of death, her “intestinal tract was completely
empty, and she was pale and icteric.” Id. at 13. India was not examined by a veterinarian
until she was gravely ill. Id. And even then, Mr. Candy declined to comply with Tri-State’s
attending veterinarian Dr. Duncan’s recommendation that the he transfer India to a facility
that could conduct further diagnostics and surgery. Despite India’s “incredibly painful”
conditions, India received no pain management and no palliative care. Id. at 14.
_   The tiger Cayenne also died due to the lack of appropriate veterinary care. AWA
regulations require attending veterinarians to have experience “in the care and management




                                                                                                    Case 1:20-cv-01225-PX Document 71-33 Filed 12/20/21 Page 13 of 67
of the species being attended,” 9 C.F.R. § 1.1, and for licensees to maintain programs of
veterinary care that include “[t]he use of appropriate methods to . . . diagnose . . . diseases,”
9 C.F.R. § 2.40(b)(2). In direct violation of these regulations, Cayenne was anesthetized
for a simple blood test and x-rays by Dr. Duncan, who “lacked any specialized experience
or training in medical care for tigers” and did not have access to standard monitoring
equipment or an anesthetic reversal agent in contravention of generally accepted standards
of veterinary care. Exh. 8, People for the Ethical Treatment of Animals, Inc., 397 F. Supp.
3d at 774-76. Cayenne—who had already experienced respiratory arrest soon after being
anesthetized—was left unattended during recovery while Dr. Duncan vaccinated a free-
roaming domestic cat at Tri-State. Id. at 773-74. When Dr. Duncan returned, Cayenne was
dead. Id. at 774.
_   The tiger Mowgli was left to suffer from a reoccurring skin condition, which “manifests
itself in red, itchy hotspots and large patches of lost fur.” Exh. 1, Mem. Op. at 15. Mowgli’s
skin condition was credited to be caused by Tri-State’s “dereliction” including confining
him to an enclosure that was “uninsulated, damp, rarely cleaned, and filled with feces and
rotting carcasses.” Id. at 16. At trial, Tri-State “produced no record evidence that Mowgli
has ever had a routine examination by a veterinarian or received basic vaccinations.” Id.
_   Tri-State denied the lion Peka adequate veterinary care by failing to have a veterinarian
properly examine or treat her abnormal gait. As the court in the ESA Action found, Peka’s
“abnormal gait likely causes Peka discomfort and pain and puts her at risk of further joint
problems such as degenerative joint disease.” Id. at 15.
9
_    The lemur Bandit was also denied adequate veterinary care. During his life, he suffered
from “untreated pain” stemming from a “protracted respiratory infection for nearly two
years, from 2016 till his death in January 2018.” Exh. 1, Mem. Op. at 11. Bandit was also
found to have “exhibited signs of significant distress,” including by self-mutilating by
tearing off part of his genitals. Id. at 12. According to veterinary and animal behavior
experts, Bandit’s self-mutilation “represented a long-term condition due to chronic stress
and anxiety.” Id. Veterinary records produced by Tri-State indicated that Bandit did not
receive “any [veterinary] examinations until the day of his death,” when he was “bleeding
from the genital area” and hypothermic. Id. at 11.
_    Tri-State also failed to have a veterinarian examine a Japanese macaque, Mrs. Mack, until
she had a baseball-sized firm mass and maggots in her vaginal area.8 When her condition
was finally brought to Tri-State’s then-attending veterinarian Dr. Fox’s attention in April
2017, Mrs. Mack was “down-n-out”—“prognosis poor.”9 Mrs. Mack subsequently died.10
B. Tri-State routinely denies animals adequate nutrition.
Tri-State has also demonstrated a pattern of failing to provide animals with wholesome,
appropriate food in direct contravention of AWA regulations, which mandate that: “[f]ood . . . be
wholesome, palatable, and free from contamination and of sufficient quantity and nutritive value
to maintain all animals in good health,” and that “diet[s] . . . be prepared with consideration for the
age, species, condition, size, and type of the animal.” 9 C.F.R. § 3.129(a). The following are
examples of Tri-State’s failure to abide with this basic regulation:
_    In the ESA Action, the court found that Tri-State failed to provide for the lion and tigers’




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“‘basic nutritional needs.’” Exh. 1, Mem. Op. at 9. This was evidenced, in part, by
pathological findings for tigers India and Cayenne, which showed they had “abnormal
amounts of fat around their vital organs, which was likely due to “chronic nutritional
imbalances.”11
_    During the pendency of the ESA Action, Mr. Candy “admitted to allowing carcasses to
remain in the Big Cats’ enclosures for up to three days, or six times as long as
recommended by the USDA.” Id. at 8. As the District Court found, Tri-State’s “repeated
defiance of USDA [nutritional] guidelines presents not only loss in nutritional value but
also places the Big Cats at risk of ‘serious [gastrointestinal] diseases’ including sepsis, from
which India succumbed.” Id.
_    Tri-State was also found to handle frozen meats fed to the animals at Tri-State in a manner
that defies USDA’s Manual on Handling Frozen/Thawed Meat and Prey Items Fed to
8
Patient Record [Exh. 11].
9
Id.
10
Deposition Transcript of Robert Candy (excerpt) (Mar. 16, 2018) at 112:7-113:1 (testifying that the male
Japanese macaque was transferred to another facility in 2017 after the female macaque died) [Exh. 12].
11
Trial Transcript, Vol. 3 (excerpt) (Nov. 20, 2018) at 13:11-15 [Exh. 13].
10
Captive Exotic Animals. Specifically, Mr. Candy thaws meat in a heated furnace room
under the reptile exhibit. The meat, which is exposed to free-roaming domestic cats who
“foraged freely atop the packages,” is subsequently fed to animals at Tri-State. Id. at 9.
_   In May 2018, Tri-State’s attending veterinarian noted that a miniature horse was
“[s]everely underweight,” “weak [and] borderline cachectic.”12 According to Mr. Candy,
the horse reportedly “loses weight every winter – possibly being shoved out of [the] way
by larger goats and other horse.”13Although not regulated by the AWA, see 9 C.F.R. § 1.1
(defining “animal”), the relatively recent condition of this miniature horse is another
example of Tri-State’s inability or unwillingness to provide animals in its care with
appropriate nutrition.
C. Tri-State denies animals safe, sanitary enclosures.
Tri-State’s chronic AWA non-compliance is further underscored by the facility’s persistent failure
to properly clean the animal enclosures, implement a “safe and effective” pest control program,
and to prevent excessive water from pooling in the enclosures, in violation of 9 C.F.R. §§ 1.319
and § 3.127(c). As evidenced by the following references to the District Court’s findings in the
ESA Action and related evidence presented in that case, Tri-State is routinely and, on information
and belief, currently out of compliance with the AWA sanitation and outdoor facility regulations:
_   The District Court found that the tigers’ outdoor enclosures, described as a “fetid cesspool,”
“contained piles of feces . . . and large spots of urine residue accumulated over time.”
Exh. 1, Mem. Op. at 3, 8. Pools provided for swimming were found to be “filthy, static,
and filled with feces.” Id. at 19. The indoor enclosures were likewise found to be filthy:




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“tufts of fur coated rusted bars, and carcasses, bones, feathers, fur, and debris mixed with
dirty straw.” Id. at 3. Mowgli the tiger’s den was further described as “damp, rarely cleaned,
and filled with feces and rotting carcasses.” Id. at 16. As the District Court aptly noted:
“The filthy state of the tiger’s enclosures is shocking but not surprising—no protocol or
schedule for cleaning and sanitation of the tigers’ enclosures exists at Tri-State.” Id. at 19.
_   The District Court further found that in the reptile room, where a squirrel monkey is held,
“‘decaying remnants of fruits and vegetables were scattered across the floor, and there were
[ ] large smears of feces, presumably from the sulcatas [tortoises].’” Id. at 2 (alterations in
original).
_   As recently as September 22, 2019, the water in the outdoor portion of the bear enclosure
was observed to be filthy.14 A member of the public observed the pool in a similar condition
12
Mountainview Veterinary Service, Patient History Report (May 29, 2018) at 2 [Exh. 14].
13
Id.
14
Exh. 9, Supplemental Expert Report of Kim Haddad (Oct. 29, 2019) at 22 (noting that the bears were
confined to a “barren enclosure with a pool of filthy water.”).
11
in July 2018. At that time, the pool water was described as “covered in green algae and
scum.”15
_    During a March 3, 2018, court ordered site inspection, animal behavior expert, Mr. Jay
Pratte observed and documented “standing water in many animal exhibits, indicative of a
clear lack of drainage and persisting muddy conditions.”16 Mr. Pratte also observed “clear
presence of rodent activity and damage throughout facility: access holes chewed through
wood, feces left on surfaces, paths and holes in ground in and around animal exhibits.”17
****
Tri-State’s current and routine noncompliance with the AWA and its implementing regulations,
demonstrates the entity’s complete disregard for the AWA and its unfitness to be licensed. As
evidenced by the attached exhibits, Tri-State’s operations are “routinely and currently out of
compliance with AWA standards,” and thus cannot be lawfully issued a renewal. Perdue, 872 F.3d
at 620. Indeed, renewal of Tri-State’s license would be arbitrary, capricious, an abuse of
discretion, and contrary to the purposes of the AWA.
IV.         CONCLUSION
Because the USDA cannot rely on Tri-State’s self-certification of compliance, and because the
evidence shows that Tri-State routinely fails to comply with AWA standards and has operated in
flagrant violation of federal law, the USDA must terminate and/or not renew Tri-State’s license.
15
See, e.g., Declaration of Connie Collins (Aug. 27, 2018) at ¶ 8 [Exh. 15].
16




                                                                                                       Case 1:20-cv-01225-PX Document 71-33 Filed 12/20/21 Page 16 of 67
Expert Report of Jay Pratte re Tri-State Zoological Park of Western Maryland (June 2018) at 79 [Exh.
16]. See also id at 83 (photos of standing water and mud in animal enclosures).
17
Id. at 80.
12
December 18, 2020
USDA/APHIS/Animal Care
Via e-mail: Animalcare@usda.gov
Re:    Request for Investigation of Apparent Animal Welfare Act Violations
at Tri State Zoological Park Of Western Maryland (License No. 51-C-0064)
Dear USDA Animal Care:
I am writing on behalf of PETA to request that the U.S. Department of Agriculture
investigate Tri State Zoological Park Of Western Maryland ("Tri-State," License No.
51-C-0064) for a Himalayan black bear in apparent need of veterinary care in
violation of the Animal Welfare Act (AWA).
On December 13, 2020, Jessica Candy Simmons posted photos on Facebook of two
Himalayan black bears named Suzi and Sally at Tri-State. One of the bears appears to
have opacity of both eyes, lateral strabismus of the right eye (lateral deviation/eye is
turned to the side instead of facing forward) with a prominent/raised third eyelid, all
indicators of prominent ocular disease. (See Ex. 1.) The opacity of the left eye is
consistent with corneal ulceration due to trauma, entropion, distichia or other causes,
although uveitis and an underlying condition may also be present and, if left
untreated, either condition can lead to severe complications including chronic pain
and blindness. The lateral strabismus, prominent third eyelid and opacity of the right
eye is equally concerning and warrants immediate evaluation as this presentation can
also indicate a painful and serious underlying condition that can have severe




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consequences if not treated.
In my twelve years of clinical and research experience with Asiatic black bears,
including serving as the senior veterinarian at an accredited sanctuary overseas,
providing veterinary care to over 170 rescued bears, the majority of whom were
Asiatic black bears, I have diagnosed, treated, and managed multiple bears with
various forms of ocular disease and attest that bears are impressively stoic and hide
pain. It is therefore imperative that a thorough ophthalmic examination by a trained
and qualified veterinarian with experience handling, anesthetizing, and treating bears,
ideally in consultation with an ophthalmologist, is needed in addition to performing a
comprehensive physical examination and appropriate diagnostics to institute timely
and appropriate treatment, including appropriate analgesia/pain management.
Please inspect this bear and her veterinary records, and ensure that she is receiving
adequate veterinary care pursuant to 9 C.F.R. § 2.40. As required by 9 C.F.R. § 2.40,
please also ensure that Tri-State consults with a qualified veterinarian who is trained
and experienced in treating bears as Tri-State’s most recent known attending
veterinarian lacked training and experience with big cats and primates, and appeared
to have very limited experience with other exotic animals. (See Ex. 2, pg. 7 and Ex. 3,
pg. 6.) In fact, the United States District Court for the District of Maryland found that
her inadequate care of at least one tiger at Tri-State led to that tiger’s death and stated
that "the provision of veterinary care remained grossly inadequate" under her care. (See Ex. 2, pg. 9 and
Ex. 3, pg. 7-8.)
Please ensure that all animals at Tri-State are being provided with adequate veterinary care, space,
shelter, food, and water and are otherwise handled in accordance with the AWA. Please also hold Tri-
State fully accountable for all violations that you discover during your inspection.
Thank you for your attention to this important matter. Please inform me of the complaint number that
your agency assigns to this correspondence.
Very truly yours,
Monica K. H. Bando, MS, BVSc, PhD, MRCVS
Wildlife Veterinarian, Captive Animal Law Enforcement
509-288-2821| monicab@petaf.org
cc:    Andrea D'Ambrosio, Animal Care Inspector, (andrea.d'ambrosio@aphis.usda.gov)
2




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April 17, 2015
Elizabeth Goldentyer, D.V.M.
Regional Director, USDA/APHIS/AC Eastern Region
Via e-mail: betty.j.goldentyer@usda.gov
Re:       Request for Non-Renewal of Animal Welfare Act License No. 51-C-0064,
Issued to Bob Candy, dba "Tri-State Zoological Park of Western Maryland"
Dear Dr. Goldentyer:
I am writing on behalf of PETA to request that the U.S. Department of Agriculture
(USDA) deny the renewal of Animal Welfare Act (AWA) exhibitor license number
51-C-0064, issued to Bob Candy, doing business as "Tri-State Zoological Park of
Western Maryland" (collectively, "Tri-State").
The USDA cannot lawfully renew Tri-State's license, which is set to expire on
April 30, 2015, because Tri-State cannot demonstrate compliance with the AWA, as
required by the statute's text and regulations.1 Rather, Tri-State has demonstrated a
willful disregard for the AWA. In the past 10 years, the USDA cited Tri-State for
violating the AWA more than 100 times. Nearly every on-site inspection resulted in at
least one citation, many for structural or staffing issues that persist over time. The
USDA has cited Tri-State more than a dozen times since the facility's license was
suspended in 2013. Nine of these citations were issued since Tri-State's license was
renewed last year, and five were issued just last month. These citations, together with
PETA's complaint to the USDA and reports made to PETA, show that Tri-State:




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_   Isolates primates, often without meeting their psychological needs
_   Confines animals to unsafe and unsanitary enclosures, including many that are
muddy, have standing water, or are covered with feces
_   Fails to abate conditions that attract rodents, roaches, and flies and allows cats,
including obviously sick cats, to roam the facility freely
_   Denies animals veterinary care, including a capuchin whose toe is bloody
_   Employs insufficient and inadequately trained staff
_   Delays inspection and deceives or distracts the inspector to evade citations
If the USDA renews Tri-State's license, the animals held at the decrepit and filthy
facility will continue to suffer in violation of the AWA. For the reasons detailed in the
attached appendix, PETA respectfully requests that the USDA deny the renewal of
Tri-State's exhibitor's license. Thank you for your attention to this important matter.
Very truly yours,
Jenni James
Counsel, Captive Animal Law Enforcement
805-206-9316 | JenniJ@petaf.org
Attachments
1
See 7 U.S.C. § 2133 ("no [exhibitor's] license shall be issued until the … exhibitor shall have
demonstrated that his facilities comply with the standards promulgated" under the act.); see also
9 C.F.R. §§ 2.11(a)(1), 2.2(b), 2.3(a) ("a license will not be issued" unless each applicant, including
applicants for renewal licenses, "certifies ... he or she is in compliance with the regulations and
standards and agrees to continue to comply with the regulations and standards" and "demonstrate[s]
that his or her premises and ... facilities ... comply with the regulations and standards.").
Appendix
I.       Legal Background
The AWA states unequivocally that no AWA license "shall be issued until the dealer or exhibitor
shall have demonstrated that his facilities comply with" AWA standards.1 As a federal district
court made clear in a case involving the renewal of an exhibitor's AWA license, "the express
language of the statutory mandate … requires a demonstration of compliance before such
issuance [i.e., granting a renewal license] is proper."2 Thus, absent a demonstration of
compliance—separate and distinct from a certification of compliance3—the USDA cannot
lawfully issue a renewal license to Bob Candy, dba as "Tri-State Zoological Park of Western
Maryland" (collectively, "Tri-State").
Tri-State has not and cannot demonstrate compliance with the AWA and the regulations
promulgated to ensure the humane care of animals. Tri-State's history of chronic noncompliance
is documented extensively in the evidence attached herein and discussed below, including:
_    The Decision and Order ("Order")4 issued in Tri-State's appeal of a recent enforcement
action that resulted in the suspension of Tri-State's license in 2013;
_    Thirty-two USDA inspection reports,5 documenting more than 100 citations issued to
Tri-State over the past ten years, which are also summarized on PETA's fact sheet6;
_    Reports made to PETA by three witnesses who volunteered at Tri-State earlier this year,
describing conditions that also apparently violate the AWA;
_    PETA's letter of complaint submitted to the USDA on Feb. 9, 20157 and assigned
complaint number AC15-194 ("PETA Complaint"); and




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_    Documents provided to PETA by the U.S. Fish & Wildlife Service (FWS) regarding its
investigation of Tri-State's unlawful possession of an injured crow in November 20148
("FWS Investigation").
1
7 U.S.C. § 2133 (emphasis added).
2
See Ex. 1, Order Denying Defendant's Motion to Dismiss, Ray, et al. v. Vilsack, et al., No. 5:12-CV-212-BO
(E.D.N.C. Jan. 18, 2013) [hereinafter "Ray v. Vilsack MTD"]; see also id. (license renewal "is not a discretionary
enforcement action, but rather an agency action carried out according to statutory mandates issued by Congress and
subject to judicial review").
3
See 7 U.S.C. § 2133; see also Ex. 1, Ray v. Vilsack MTD, supra note 2; compare 9 C.F.R. 2.2 (calling for
self-certification of AWA compliance), with 9 C.F.R. § 2.3 (additionally providing that "[e]ach applicant must
demonstrate that his or her premises and any animals, facilities, vehicles, equipment, or other premises used or
intended for use in the business comply with the regulations and standards" (emphasis added)); see also id. § 2.1
(requiring that both section 2.2 and section 2.3 be satisfied for a license to be issued); Revision of Definitions,
Regulations, and Standards for the Humane Handling, Care, Treatment, and Transportation of Dogs, Cats, and
Certain Other Warmblooded Animals, 44 Fed. Reg. 63488, 63489 (Nov. 2, 1979) ("The Animal Welfare Act
requires, in addition to a written application and payment of reasonable fees, that dealers and exhibitors demonstrate
that their facilities comply with the standards promulgated by the Secretary" (emphasis added)).
4
Ex. 2, In re: Tri-State Zoological Park of Western Maryland, Inc., and Robert L. Candy, an Individual, Decision
and Order, USDA Docket No 11-0222, at 42 (Mar. 22, 2013) [hereinafter "Order"].
5
Ex. 3, USDA Inspection Reports, Nov. 2014-Mar. 2015 (citations since last renewal); Ex. 4, USDA Inspection
Reports, Aug. 2013-Apr. 2014 (citations between suspension and last renewal); Ex. 5, USDA Inspection Reports,
Feb. 2011-Apr. 2013 (citations issued during enforcement proceedings); Ex. 6, USDA Inspection Reports,
May 2006-Sept. 2010 (inspections considered during enforcement); and Ex. 7, USDA Inspection Reports,
Dec. 2004-Feb. 2006 (early citations).
6
Ex. 8, PETA Fact Sheet, Tri-State Zoological Gardens of Western Maryland.
7
Ex. 9, Letter to Dr. Goldentyer from Delcianna Winders (Feb. 9, 2015) [hereinafter "PETA Complaint"].
Request for Non-Renewal of Animal Welfare Act License No. 51-C-0064, 1
This evidence demonstrates that Tri-State has consistently and willfully confined animals in
unsafe, unsanitary, and inhumane conditions that fall short of the minimal housekeeping and
husbandry standards set forth by the AWA. Since many of the unlawful conditions stem from
chronic structural and staffing deficiencies that Tri-State has apparently not resolved, the facility
cannot demonstrate compliance with the AWA. Since Tri-State cannot simultaneously violate the
AWA standards and demonstrate compliance with them, the USDA cannot lawfully renew
Tri-State's exhibitor license.
II.      Tri-State Cannot Demonstrate Compliance with AWA Standards
A. Tri-State's Violation of the AWA is Both Chronic and Willful
The volume, nature, context, and timing of the citations issued to Tri-State demonstrate that the
facility's noncompliance with the AWA is both chronic and willful. In the past ten years, the
USDA has cited Tri-State for more than 100 violations of the AWA. At least 30 of these were for
repeat violations, and most related either to Tri-State's failure to confine animals in safe and
sanitary conditions or to the facility's many structural and staffing deficiencies. Tri-State's
chronic violation of the AWA resulted in a temporary suspension of the facility's license in 2013.
In a Decision and Order concluding Tri-State's unsuccessful appeal of the enforcement
proceeding that resulted in the 2013 suspension, the USDA found that Tri-State's Candy
"demonstrate[d] a lack of cooperation and commitment to full compliance with the [AWA]" and
noted that Candy "maintain[ed] that so long as he "cures" defects, he should be considered
compliant."9 Candy's interpretation of the AWA's requirements is untenable. Under Candy's
interpretation of compliance, animals would not be receive humane care and treatment at all




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times, as is required by the AWA, but would instead suffer inhumane care and treatment unless
and until such conditions were detected and documented by a USDA inspector. Even then, these
inhumane conditions could persist until a licensee decided to "cure" the violations. After finding
that Candy's repeated violations "suggest[ed] lack of good faith and demonstrate[d] willful
violation" of the AWA,10 The USDA determined that "a 45-day suspension of Tri-State's Animal
Welfare Act license and a cease and desist order should be sufficient to deter Tri-State,
Mr. Candy, and others from future violations."11
Deterrence was clearly not achieved. Since issuing Tri-State's renewal license last year, the
USDA has cited the facility for nine violations of the AWA. Five of these citations were issued
just last month. Tri-State received another four citations in the short period between the 2013
suspension and the 2014 renewal. The facility received another 18 citations in the two years
between the start of the enforcement proceedings and the time the suspension began. Half of
these were for repeat violations. Tri-State's continued and repeated violation of the AWA
suggests that Candy still believes he need not comply with the AWA unless and until he has been
cited repeatedly.
Tri-State's numerous citations may be just a fraction of those that the USDA might have detected
if not for the reportedly deceptive practices of Candy and the Tri-State staff. According to the
8
Ex. 10, U.S. Fish & Wildlife Service Investigation Report and Notes (Nov. 2014) [hereinafter "FWS
Investigation"].
9
Ex. 2, supra note 4, Order at 42.
10
Id. at 47.
11
Ex. 2, supra note 4, Order at 48.
Request for Non-Renewal of Animal Welfare Act License No. 51-C-0064, 2
three witnesses ("Witness 1", "Witness 2", and "Witness 3") who volunteered at Tri-State earlier
this year, and who were present during the facility's USDA inspection last month, Kathy, a
long-term volunteer, told them that she and Candy intentionally distract the USDA inspector,
Dr. Gloria McFadden, to evade citations. Kathy, who was one of two volunteers living at the
facility at the time, told the witnesses that Dr. McFadden's memory became impaired several
years prior when she was injured in an accident. As a result, she said, she and Candy could cause
the inspector to forget about citations she intended to record by distracting her before she wrote
them down, and that she and Candy intentionally did so. Witness 1 and Witness 3 recalled that
Kathy also stated that it was easy to tell Dr. McFadden that they would return to certain areas
later and then skip them entirely.
Moreover, according to Witness 3, Kathy told the witnesses that since the inspector must be
accompanied by the owner, Candy had delayed his arrival to allow the volunteers longer to clean
the facility and avoid citations. According to the witnesses, Kathy told them that Candy had
intentionally kept the inspectors waiting for about 30 minutes that morning. Candy's distraction
and delay tactics, apparently designed to conceal the full extent of his unlawful and inhumane
practices, suggest that he routinely and willfully violates the AWA.
According to Witness 2, shortly after Dr. McFadden left, Candy spoke candidly to the witnesses
about the deterrent effect of various USDA enforcement efforts. Witness 2 reported that Candy
said that he does not care about citations and that he has told USDA inspectors that he does not
care about citations. Candy then went on to say that he was not concerned with fines, since the
USDA could not enforce them. Witness 3 reported that Candy said he had no intention of paying




                                                                                                      Case 1:20-cv-01225-PX Document 71-33 Filed 12/20/21 Page 45 of 67
any fines. According to Witness 1 and Witness 2, Candy then stated that the worst the USDA
could do is take away his exhibitor's license, but that he was not concerned even then because he
would still retain possession of his animals. Witness 1 also reported that Candy criticized the
USDA as inefficient, since he went for trial in 2012 for an issue that occurred in 2006.
Despite Candy's apparent disdain for the USDA and its enforcement powers, he did reportedly
take at least one more step to avoid citations. According to Witness 1, Kathy told the witnesses
that Candy instructed her to tell the inspectors that she owned the many cats who roamed the
facility, so that the USDA would not have jurisdiction over them. In fact, Kathy apparently did
not own the cats that roamed Tri-State. To the contrary, she reportedly told Witness 2 that she
prevented at least one of the of roaming cats, a gray cat who was infected with Feline
Immunodeficiency Virus (FIV), from entering her home because she had two cats living inside.
According to Witness 1, Kathy disclosed that when she saw the inspector taking pictures of the
gray cat that morning, she lied and claimed the cat was hers and instructed the inspector to delete
the photos that had been taken. Moreover, Tri-State supplied the roaming cats with litter boxes,
which Witness 1 reported seeing in various places in the facility, including one in the building
that held the squirrel monkey and the reptiles and Witness 2 saw litter boxes in the room holding
the kinkajous and under the tank holding the rats.
Tri-State's recent and repeated AWA citations, together with Candy's reported attempts to
intentionally evade citations and obstruct USDA inspections, indicate that Candy continues to
"demonstrate a lack of cooperation and commitment to full compliance with the [AWA]."12
12
Id. at 42.
Request for Non-Renewal of Animal Welfare Act License No. 51-C-0064, 3
Since Tri-State continues to operate in chronic violation of the AWA, Tri-State cannot
demonstrate compliance with the AWA, as required by 9 C.F.R. § 2.3(b), and the USDA cannot
lawfully issue Tri-State's renewal license. Moreover, Candy cannot truthfully certify that he is in
compliance with the Act, as required by 9 CFR § 2.2(b). Since Candy cannot apply for a renewal
license without stating, falsely, that he complies with the AWA, and a license will not be issued
to any applicant who "[h]as made any false or fraudulent statements ... to the Department,"13 the
USDA cannot issue Tri-State's renewal license.
B. Social Primates Isolated With No Regard For Their Psychological Well-Being
Tri-State has a history of isolating social primates without the environmental enrichment plan
that is required by 9 C.F.R. § 3.81(c)(4) and apparently without justification, as required by
9 C.F.R. § 3.81(a).
_   Tri-State's most recent citation for the unlawful isolation of primates was issued in
November 2014, after the inspector found a singly-house marmoset who was held
without an environmental enrichment plan in place to ensure the primate's psychological
well-being.14
_   The facility was also cited in August 2009, after the inspector found a squirrel monkey
and a lemur, each housed alone, and their needs were not addressed in the facility's
primate enrichment plan.15
_   Tri-State was also cited in May 2006 for isolating a lemur without addressing the lemur's
need for additional enrichment.16
_   Three months earlier, in February 2006, Tri-State was cited because it did not have a




                                                                                                      Case 1:20-cv-01225-PX Document 71-33 Filed 12/20/21 Page 46 of 67
complete enrichment plan for any of the primates at the facility.17 This was a repeat
violation.
_   The facility was cited for failing to have an enrichment plan in January 2006 as well.18
_   Just four months earlier, in September 2005, Tri-State was also cited for failing to address
the needs of three singly-housed primates: a capuchin, a pigtail macaque, and a rhesus
macaque.19
According to inventories supplied to the USDA by Tri-State in 2013 and 2014,20 and the
observations of the witnesses who recently volunteered there, the facility also holds a single
capuchin monkey. Although the facility has not yet been cited for the isolation of the capuchin,
reports from the witnesses suggest that the capuchin is also suffering. As described in greater
detail in § II.C.1, infra, according to Witness 1, all three witnesses saw the capuchin handling a
piece of wood that the primate had pried off a platform inside the enclosure, chewed hard plastic
into pieces, and paced around the enclosure in which he was confined during the facility's most
recent inspection. Pacing is widely recognized as a stereotypical behavior that is commonly
13
9 C.F.R. § 2.11(a)(6).
14
Ex. 3, supra note 5, USDA Inspection Report (Nov. 6, 2014).
15
Ex. 6, supra note 5, USDA Inspection Report (Aug. 3, 2009).
16
Ex. 6, supra note 5, (USDA Inspection Report (May 17, 2006).
17
Ex. 7, supra note 5, USDA Inspection Report (Feb. 14, 2006).
18
Ex. 7, supra note 5, USDA Inspection Report (Jan. 5, 2006).
19
Ex. 7, supra note 5, USDA Inspection Report (Sept. 28, 2005).
20
Ex. 11, Tri-State Renewal Applications at 2, 4.
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associated with stress.21 The capuchin also appeared to engage in self harm and overgrooming,
both common stereotypies.22 As discussed in § II.E, infra, Witness 1 and Witness 2 reported that
the capuchin picked at his toe and tail until they bled. In addition, Witness 1 saw the primate
scratch repeatedly at a bald spot on his back at the base of his tail. Witness 2 and Witness 3
noticed that the bald spot appeared larger than it had been during a previous visit. The pacing and
picking are evidence that the capuchin is suffering psychological harm as a result of his isolation.
Notably, in December 2014, Witness 1 saw the isolated squirrel monkey engage in behavior that
might be self harm. The squirrel monkey appeared to bite at his own arm.
USDA regulations require facilities to "develop, document, and follow an appropriate plan for
environment enhancement adequate to promote the psychological well-being of nonhuman
primates," that includes "specific provisions to address the social needs of nonhuman primates of
species known to exist in social groups in nature."23 The social housing of primates "must be in
accordance with currently accepted professional standards, as cited in appropriate professional
journals or reference guides, and as directed by the attending veterinarian."24 The only
appropriate reasons for isolating an animal are aggression, debilitation, illness, or
incompatibility.25
At Tri-State, there is no evidence that the marmoset, squirrel monkey, and capuchin are isolated
because they are aggressive, debilitated,26 ill, or incompatible with others of their kind. Rather, it
appears they are isolated because the facility has elected to acquire and exhibit only one of each
of these types of primate. Although Tri-State is well aware of its obligation to take special care to
safeguard the psychological well-being of singly-housed social primates, the facility does not




                                                                                                                       Case 1:20-cv-01225-PX Document 71-33 Filed 12/20/21 Page 47 of 67
appear to have taken steps to remedy the isolation of these three primates. Instead, Tri-State
elected, yet again, to subject a social primate to isolation in the absence of an environmental
enrichment plan, and in willful violation of the AWA.
As long as Tri-State houses social primates in isolation, apparently without justification as
narrowly provided by 9 C.F.R. § 3.81(a), and often without ensuring the primates' psychological
21
See Joseph C. E. Barber, Animal Behavioral Concerns, in Zookeeping: An Introduction to the Science and
Technology, 387, 391 (Mark D. Irwin, et al. eds., 2013) ("When animals are observed performing behaviors that
seem to have no obvious goal or function (e.g., pacing to and fro), and when certain behaviors are repeated time and
again ... they may be performing abnormal repetitive behaviors (ARBs) or more specifically stereotypic behaviors or
stereotypies"); id. at 405 ("reduction in stereotypic behavior" is one of the "commonly used measures by which
enrichment is evaluated in published papers"; "enrichment is a highly effective strategy for reducing stereotypic
behavior"); see also Kathleen N. Morgan and Chris T. Tromborg, Sources of Stress in Captivity, 102 Applied
Animal Behaviour Science, 262, 263 (2007) ("Behaviorally, chronic stress may be indicated by ... increased
abnormal behavior").
22
See Erica Miller and Sandra Woltman, Wildlife Rehabilitation, in Zookeeping: An Introduction to the Science and
Technology, 573, 581 (Mark D. Irwin, et al. eds., 2013) (behavioral enrichment can help prevent "self-mutilating or
overgrooming, reduce [] stereotypic behaviors," and reduce stress).
23
9 C.F.R. § 3.81(a).
24
Id. (emphasis added).
25
Id. (emphasis added).
26
According to Witness 1, Candy said that the capuchin's fangs were removed by a prior owner and thus he would
not be able to be around another of his species. Although this disability would prevent the capuchin from being
safely housed with other intact capuchins, there is no evidence that Tri-State has isolated the capuchin for this
reason, and his psychological suffering could be alleviated if he were housed in such a way that he could see and
hear other capuchins.
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well-being, Tri-State cannot demonstrate compliance with the AWA. Since Tri-State cannot
demonstrate compliance with the AWA, USDA cannot lawfully issue Tri-State's renewal license.
C. Tri-State Confines Animals in Unsafe and Unsanitary Conditions
Tri-State's many citations, supplemented by complaints and witness reports, demonstrate that the
facility confines animals in unsafe and unsanitary conditions, contrary to the AWA.
1.      Capuchin and Other Primates at Risk of Harm by Unsafe Enclosures
As mentioned briefly in § II.B, supra, the witnesses who volunteered at Tri-State during the
facility's inspection last month reportedly saw a singly-housed capuchin named Dodger with a
board that he had pulled off of a platform inside the enclosure holding him. Witness 3 reported
that they first heard Dodger prying the board off when they walked down a pathway outside the
enclosure. Witness 1 reported that at least two screws protruded from the board and that Dodger
threw the board around the enclosure, ultimately slamming it on to a wooden platform and
apparently catching his fingers underneath it when he did. According to Witness 1 and Witness
3, Kathy was also present and did nothing to protect the capuchin from harm. Witness 2 reported
that Dodger later picked up a piece of blue plastic, which Witness 1 thought might have come
from a broken plastic ball, and began chewing it. Witness 2 reported that the capuchin reportedly
chewed on the plastic for two minutes, breaking it into pieces. According to Witness 1, the
plastic made a cracking sound as it broke into smaller pieces, and although Kathy saw Dodger
chewing the plastic, she did nothing to remove it. Witness 3 also reported that Dodger slammed
the water bucket in the enclosure against the wall, spilling the water. By isolating the capuchin,
apparently without justification under 9 C.F.R. § 3.81(a), in an enclosure that contained a loose




                                                                                                     Case 1:20-cv-01225-PX Document 71-33 Filed 12/20/21 Page 48 of 67
board and broken plastic, Tri-State apparently subjected the primate to a risk of harm, in
violation of the AWA.
Dodger is among many animals who have been confined at Tri-State in unlawful and unsafe
conditions.
_   In January 2014, after finding frozen water in a drinking receptacle in an enclosure with a
snow macaque, the USDA cited Tri-State for allowing the temperature in the building to
drop below 45 degrees, in violation of 9 C.F.R. § 3.77(a).27
_   A year later, PETA reported to USDA that Tri-State appeared to be violating 9 C.F.R.
§ 3.127(b), by confining two dogs outside with only one small kennel between them,
subjecting at least one dog to temperatures that were in the low 20s.28
_   In September 2005, Tri-State was cited for violating 9 C.F.R § 3.52(a), after confining six
rabbits in an enclosure that did not allow all of them to access shade at the same time.29
_   Four months later, in February 2006, Tri-State was cited for confining two rabbits in an
outdoor hutch that was primarily made of wire, exposing the rabbits to wind and
extremely cold weather.30
_   In September 2005, Tri-State was also cited for violating 9 C.F.R § 3.127(a) after
denying a lion31 shade.
27
Ex. 4, supra note 5, USDA Inspection Report (Jan. 27, 2014).
28
Ex. 9, supra note 7, PETA Complaint at 3.
29
Ex. 7, supra note 5, USDA Inspection Report (Sept. 28, 2005).
30
Ex. 7, supra note 5, USDA Inspection Report (Feb. 14, 2006).
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_   Tri-State was cited again for violating 9 C.F.R § 3.127(a) in January 2008 after denying
five ferrets32 shade.
_   Tri-State was cited for violating 9 C.F.R. § 3.127(b) twice in 2006 after leaving tigers33
outside without adequate shelter.
_   In February 2006, the cougars34 were also not provided adequate shelter for winter
temperatures, in violation of 9 C.F.R. § 3.127(b).
_   In November 2006, the roof of a shelter provided to the macaque was cracked35 and the
shelter provided to the artic fox had a large hole in the roof,36 in further violation of
9 C.F.R. § 3.127(b).
_   Tri-State was cited for violating 9 C.F.R. 3.80(a)(2)(ii), in September 2007 after a pigtail
macaque was found dead near a partially chewed heat lamp cord.37
_   Tri-State was cited twice in 2006 for violating 9 C.F.R. § 3.80(b)(2), after the inspector
found two large macaques in an enclosure that was less than 5 square feet38 and a juvenile
lemur in a small, dark enclosure.39
_   In January 2006, Tri-State was cited because the squirrel monkey was held in an
enclosure that had damaged and missing plaster and areas of wood that were missing
paint.40 Tri-State also held lemurs and capuchins in enclosures made with untreated
wood.41
_   In September 2005, Tri-State was cited when the inspector saw that the squirrel monkeys
were confined in an enclosure that had a cracked glass.42
Because Tri-State continues to confine primates in unsafe conditions that violate the AWA,




                                                                                                         Case 1:20-cv-01225-PX Document 71-33 Filed 12/20/21 Page 49 of 67
Tri-State cannot demonstrate compliance with the AWA or truthfully certify compliance. As a
result, the USDA cannot lawfully issue a renewal license to Tri-State.
2.      Animals Confined in Filthy, Feces-Filled Enclosures
Last month, the USDA cited Tri-State for confining a coatimundi in an enclosure that had
"excessive" amounts of dried feces coating a platform and a "treat cup [that] was soiled."43
During the inspection on April 24, 2014, just days before Tri-State's last renewal license was
issued, the inspector found excessive feces, urine, food, and other debris accumulated in the litter
pan of a kinkajou enclosure.44
31
Ex. 7, supra note 5, USDA Inspection Report (Sept. 28, 2005).
32
Ex. 6, supra note 5, USDA Inspection Report (Jun. 2, 2008).
33
Ex. 7, supra note 5, USDA Inspection Report (Feb. 14, 2006) and USDA Inspection Report (Jan. 5, 2006).
34
Ex. 7, supra note 5, USDA Inspection Report (Feb. 14, 2006).
35
Ex. 6, supra note 5, USDA Inspection Report (Nov. 29, 2006).
36
Id.
37
Ex. 6, supra note 5, USDA Inspection Report (Sept. 26, 2007).
38
Ex. 7, supra note 5, USDA Inspection Report (Jan. 5, 2006).
39
Ex. 7, supra note 5, USDA Inspection Report (Feb. 14, 2006).
40
Ex. 7, supra note 5, USDA Inspection Report (Jan. 5, 2006).
41
Id.
42
Ex. 7, supra note 5, USDA Inspection Report (Sept. 28, 2005).
43
Ex. 3, supra note 5, USDA Inspection Report (Mar. 4, 2015).
44
Ex. 4, supra note 5, USDA Inspection Report (Apr. 24, 2014).
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According to the witnesses who volunteered at the facility during the USDA inspection last
month, many other animals at Tri-State were also confined in enclosures that were overrun by
feces or filthy in other ways.
_   Witness 3 observed that the big cat enclosures were wet, muddy, snowy, and covered in
feces.
_   Witness 1 reported seeing piles of feces in the cages holding the kinkajous. Witness 3
reported seeing full tub of feces, liquid, and rotting food in a cage that normally held
kinkajous. Witness 3 said the tub looked as if it had not been cleaned for more than a
month.
_   Witness 3 reported that the concrete floor of the enclosure holding two dogs was
completely covered in feces.
_   Witness 3 saw feces piled up in tub at the bottom of a cage holding ferrets.
_   Witness 3 and Witness 1 both saw rats held in a glass tank that was so dirty the rats were
barely visible from the side. Witness 1 said the water bowl in the tank appeared very
murky and brown in color.
_   Witness 1 and Witness 3 also saw donkeys, goats, pigs, and a llama held in enclosures
that consisted entirely of feces and mud. Witness 1 saw a goat in a shed that had a floor
that was mostly covered with feces.
_   Witness 2 saw feces in cages holding birds. Witness 3 observed feces throughout the
cages holding the birds.45
Witness 3 also reported that Kathy told the witnesses that they did not need to worry about




                                                                                                                     Case 1:20-cv-01225-PX Document 71-33 Filed 12/20/21 Page 50 of 67
cleaning several enclosures, including those holding the capuchin, coatimundi, raccoon, bobcats,
skunk, and porcupine, since the USDA inspectors had already seen them. In February 2015,
PETA requested that the USDA investigate unsanitary conditions, providing video of feces and
rotten food covering the floor of the enclosures holding kinkajous.46
Tri-State has been cited numerous times for confining animals in dirty or feces-filled enclosures:
_   In October 2011, Tri-State was cited after the inspector saw a build up of brown material
on the upper wall near a perch used by the kinkajou.47
_   Tri-State was cited in June 2008 and August 2009 for confining older tigers in an
enclosure with a small pool that had excessive amounts of feces and urine.48 During the
enforcement proceeding that resulted in the 2013 suspension of his license, Candy
referred to this pool as the tigers' toilet.49
_   Tri-State was cited again, in November 2009, after the inspector found a similarly soiled
pool in an enclosure holding a young tiger.50
45
Although the USDA has not yet developed specific standards for birds, these warm-blooded animals are covered
by the plain language of the AWA (see 7 U.S.C. § 2132(g); see also 9 C.F.R. § 1.1), AWA regulations, including the
general AWA standards set forth in subpart F, 9 C.F.R. §§ 3.125–142.
46
Ex. 9, supra note 7, PETA Complaint at 3.
47
Ex. 5, supra note 5, USDA Inspection Report (Oct. 6, 2011).
48
Ex. 6, supra note 5, USDA Inspection Report (Aug. 3, 2009)) and USDA Inspection Report (Jun. 2, 2008).
49
Ex. 2, supra note 4, Order at 29.
50
Ex. 6, supra note 5, USDA Inspection Report (Nov. 20, 2009).
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_   In August 2009, there were excessive amounts of feces, some of it dried, in the
enclosures holding goats, pigs, servals, and bobcats.51
_   In February 2006, Tri-State was cited for violating 9 C.F.R. § 3.84, after the inspector
found primates in enclosures that had feces built up on surfaces.52 This was a repeat
citation as the inspector also noted a build up of dirt and debris the month before.53
_   In February 2006, the inspector also found that the outdoor pens holding livestock were a
mix of feces and mud, and that the house holding mammals and reptiles had an excessive
amount of feces.54 Feces left by roaming birds were found through the public areas.55
_   In January 2006, Tri-State was also cited for the excessive amount of feces in a cage pan
provided for a singly-housed gray rabbit.56 Pans beneath other cages holding rabbits were
actually beginning to deteriorate and the cages were apparently not sanitized within the
past 30 days.57
_   Tri-State was cited six times for violating 9 C.F.R. § 3.131(b), after the facility
persistently confined big cats in enclosures that were made of cracked or damaged
concrete, which is impossible to properly sanitize.58
_   Tri-State was also cited in September 2012 for two 3 inch holes in the concrete floor of
an off-exhibit area of the enclosure holding the tiger.59
Because Tri-State continues to confine animals in filthy, feces-filled enclosures, in violation of
the AWA, Tri-State cannot demonstrate compliance with the AWA or truthfully certify
compliance. As a result, the USDA cannot lawfully issue a renewal license to Tri-State.
3.       Animals Confined in Enclosures Covered in Mud or Standing Water




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Last month, the USDA cited Tri-State for confining animals in enclosures that had standing
water or other drainage issues. An enclosure holding two pigs apparently lacked sufficient
drainage as it was "excessively muddy" and had "a pool of standing water around the water
receptacle."60 An alpaca61 was locked, for at least three hours, in a shelter stall that had standing
water and mud, which the inspector noted could "cause foot problems" and "excessive chilling in
cold water."62
According to the witnesses who volunteered at Tri-State during the USDA inspection last month,
many other enclosures were also filled with mud or standing water:
51
Ex. 6, supra note 5, USDA Inspection Report (Aug. 3, 2009).
52
Ex. 7, supra note 5, USDA Inspection Report (Feb. 14, 2006).
53
Ex. 7, supra note 5, USDA Inspection Report (Jan. 5, 2006).
54
Ex. 7, supra note 5, USDA Inspection Report (Feb. 14, 2006).
55
Id.
56
Ex. 7, supra note 5, USDA Inspection Report (Jan. 5, 2006).
57
Id.
58
Ex. 5, supra note 5, USDA Inspection Report (Jul. 3, 2012), USDA Inspection Report (Mar. 2, 2012), USDA
Inspection Report (Oct. 6, 2011), USDA Inspection Report (Jun. 9, 2011), USDA Inspection Report (Feb. 10, 2011);
and Ex. 6, supra note 5, USDA Inspection Report (Sept. 29, 2010).
59
Ex. 5, supra note 5, USDA Inspection Report (Sept. 14, 2012).
60
Ex. 3, supra note 5, USDA Inspection Report (Mar. 4, 2015).
61
According to Witness 3, the alpaca was also part llama and was named Misty. Witness 3 suspected that Misty was
confined during the inspection because shad recently become aggressive and often attempted to escape.
62
Ex. 3, supra note 5, USDA Inspection Report (Mar. 4, 2015).
Request for Non-Renewal of Animal Welfare Act License No. 51-C-0064, 9
_   According to Witness 3, there was snow, mud, and puddles of standing water in an
enclosure holding a donkey named Demo.
_   Witness 3 further reported that a goat who was held in an enclosure with a miniature
horse was standing in one of two empty tubs, apparently because there was no other dry
area available. Witness 1 also reported seeing the goat standing in a tub, surrounded by
deep mud on all sides. Witness 2 reported seeing approximately 60 piles of feces in the
enclosure and also noted that there was no dry ground.
_   Witness 1 saw one half of a dog house filled with feces and straw and a large amount of
feces in the straw inside a shed, both in an enclosure holding pigs.
_   Witness 3 reported that the concrete floor of the enclosure holding the singing dog was
covered in snow, ice, and puddles of standing water.
_   Witness 1 reported seeing a donkey whose fur was wet and covered in places by both wet
and dry mud.
_   According to Witness 1, in a building holding birds, feces covered the heater and floor
and was piled an inch thick in some places.
Tri-State's previous citations for mud and standing water include:
_   A citation for violating 9 C.F.R § 3.127, which was issued in May 2006 because the
ground in the pen holding pigs was damp, there was mud mixed with feces near the
shelter, and the drainage pool had a small amount of green material floating on the
water.63
_   Tri-State was cited for the same violation twice more, earlier in 2006, when the inspector




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described the facility as "one giant puddle" and noted that few if any of the hoofstock had
a truly dry area to lie down.64
Because Tri-State continues to confine animals in wet and muddy enclosures, in violation of the
AWA, Tri-State cannot demonstrate compliance with the AWA or truthfully certify compliance.
As a result, the USDA cannot lawfully issue a renewal license to Tri-State.
4.       Moldy and Rotten Food, Accumulated Food Waste
Last month, USDA inspectors cited Tri-State for insufficient housekeeping or sanitation after
finding that the enclosure holding the coatimundi had "excessive" amounts of dried feces coating
one platform, a "buildup of food wastes" on another, and a "treat cup was soiled."65 Tri-State was
also cited because inspectors noted that discarded produce outside the enclosure holding eight
pigs increased the risk of rodents, "odors, and disease hazards."66
The witnesses who volunteered at Tri-State during the inspection last month reported further the
following unsanitary conditions:
_   Witness 2 reported that the cage holding ferrets smelled of old food and feces and a
plastic bowl in the cage had old food mixed with urine and feces.
63
Ex. 6, supra note 5, USDA Inspection Report (May 17, 2006).
64
Ex. 5, supra note 5, USDA Inspection Report (Feb. 14, 2006) and USDA Inspection Report (Jan. 5, 2006).
65
Ex. 3, supra note 5, USDA Inspection Report (Mar. 4, 2015).
66
Id.
Request for Non-Renewal of Animal Welfare Act License No. 51-C-0064, 10
_   The kitchen smelled strongly of rotting food and mold, the floor was covered in trash and
dirt, Witness 2 and Witness 3 reported that the refrigerators were dirty and had rotting
food in them.
_   There were buckets of fruit and vegetable scraps on the floor of the kitchen that a
volunteer instructed Witness 1 and Witness 2 to feed to the pigs. Witness 1 saw that the
scraps appeared to be slimy and that one of the buckets contained bananas that were
brown and very wet. When feeding the pigs, Witness 1 noticed that a cantaloupe
appeared moldy. Witness 2 also reported seeing spots of white and black mold on the
cantaloupe and saw banana peels that had turned black with age.
_   According to Witness 1, some of the scraps were fed to the pigs from a plastic container
that had been contaminated by feces. Witness 1 watched as John, another volunteer who
lived on the premises, removed the plastic container from an enclosure holding goats,
knocked the container on the ground, and caused several pieces of feces to fall out. John
then handed the container to Witness 1 and instructed Witness 1 to pour the food scraps
in it.
_   According to Witness 3, a mound of slimy and discolored food was on the floor of the
enclosure holding two ring-tailed lemurs.
_   Witness 3 saw that the concrete floor of the enclosure holding two dogs was completely
covered with feces.
_   According to Witness 1, the water sources in a building that held birds were brown and
contaminated by feces, and a metal bowl in the building held brown and withering fruit.




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Tri-State has been cited repeatedly for violations issued as a result of food waste or insufficient
sanitation:
_   A citation issued in November 2014 after the inspector found that the rug in the kitchen
was "sufficiently worn that it [could] no longer be cleaned and sanitized effectively."67
_   In February 2006, Tri-State was cited because the kitchen floor was excessively dirty and
not sealed in many areas, food debris had accumulated under the cutting boards, several
ceiling tiles were missing over the prep area, exposing the insulation, and an open barrel
of animal bones sat in the middle of the kitchen floor, letting off a moderate odor.68
_   At the same time, an unused refrigerator was turned off and was dirty and held a bag
containing an unknown substance, another refrigerator that held fruit was dirty, and
uncovered bone scraps were kept uncovered in a freezer with other packages of meat.69
_   A month prior, Tri-State was cited after the inspector found uncovered produce, meant
for the primates, in a refrigerator.70 The freezer portion of the appliance contained a dead
guinea pig and dead pheasant, both unwrapped and with a pool of blood.71 A freezer
holding chicken also contained blood.72 The chest freezer contained thawed deer rib
cages that were rotting and that smelled of decay.73
67
Ex. 3, supra note 5, USDA Inspection Report (Nov. 6, 2014).
68
Ex. 7, supra note 5, USDA Inspection Report (Feb. 14, 2006).
69
Id.
70
Ex. 7, supra note 5, USDA Inspection Report (Jan. 5, 2006).
71
Id.
72
Id.
73
Id.
Request for Non-Renewal of Animal Welfare Act License No. 51-C-0064, 11
_   In February 2006, Tri-State was also cited for failing to feed rabbits daily, in violation of
9 C.F.R. § 3.54(a), after the inspector found the food pan used by the Angora rabbits had
old moist caked food at the bottom and fresh pellets and feces on top, indicating that the
rabbits had apparently not eaten the contaminated food74 This was a repeat citation.75
Because Tri-State continues to confine animals in filthy feces-filled enclosures, in violation of
the AWA, Tri-State cannot demonstrate compliance with the AWA or truthfully certify
compliance. As a result, the USDA cannot lawfully issue a renewal license to Tri-State.
5.      Animals Confined Without Food or Water
In addition, the witnesses noted that the following enclosures lacked food, water, or both:
_   Witness 2 saw that the bowls in the enclosures holding tigers named Mowgli and
Cheyenne were empty and dry. The witnesses reported that Kathy reportedly tried, with
little success, to fill the bowls from outside the enclosures during the inspection.
_   Witness 3 reported that the donkey named Demo was held in an enclosure that did not
appear to have any water.
_   Witness 1 saw pigs held in a muddy enclosure without water, other than a few shallow,
muddy puddles.
_   Witness 3 saw two macaques in an enclosure that did not appear to have any food or
water. The macaques reportedly could not access the indoor portion of the enclosure.
_   Witness 3 reported that there was no food or water available to the alpaca who was
locked in the muddy stall during the inspection. She was reportedly drinking the water
pooled on the ground.




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_   Witness 3 also did not see any food or water in the enclosure holding two dogs.
_   Witness 2 and Witness 3 reported that the bears were held in an enclosure without food or
water and there were no food or water containers, other than an empty metal bath tub.
In February 2015, PETA reported that several animals at Tri-State were confined without food or
water.76 PETA provided video of several rats in a cage with an empty water dish and an
apparently old, unpeeled orange as the only source of food.77 PETA also reported that the
squirrel monkey, bobcats, and foxes were confined without food or water,78 and the water
containers for several farmed animals were "frozen solid."79
Tri-State has been cited previously for failing to provide animals with food or water.
_   In November 2009, Tri-State was cited because the drinking water provided to a lion was
greenish in color.80
_   In February 2006, Tri-State was cited as a result of the dirty drinking water that was in a
bowl on the floor of the enclosure holding guinea pigs.81
74
Ex. 5, supra note 5, USDA Inspection Report (Feb. 14, 2006).
75
See § II.C.5, infra.
76
Ex. 9, supra note 7, PETA Complaint at 2-3.
77
Id. at 2.
78
Id.
79
Id. at 2-3.
80
Ex. 6, supra note 5, USDA Inspection Report (Nov. 20, 2009).
Request for Non-Renewal of Animal Welfare Act License No. 51-C-0064, 12
_   In January 2006, Tri-State was cited after the inspector found an excessively thin Angora
rabbit in a cage that did not have any food in it.82
Because Tri-State continues to confine animals without clean water, as required by the AWA,
Tri-State cannot demonstrate compliance with the AWA or truthfully certify compliance. As a
result, the USDA cannot lawfully issue a renewal license to Tri-State.
6.     Fences and Facilities in Disrepair, Gates Left Open
Last month, USDA inspectors cited Tri-State after finding two areas that needed repair. The
wooden platform that served as a barrier between the public and three tigers was crumbling,
jeopardizing the integrity of the wire panel fence attached to it.83The wooden fence around the
petting zoo was "excessively worn" and leaning in places.84 The citation for the petting zoo fence
was a repeat violation. Four months prior, the inspector clearly stated that the "board fencing
must be repaired ... or replaced" by Dec. 30, 2014.85 Tri-State had only repaired the broken fence
post. 86 During the November 2014 inspection, the inspector also found that a "portion of the
primary perimeter fence" around the enclosure holding the young tigers was "movable" and was
not sufficiently secured "to facilitate containment of the animals in the event of an escape."87
Witness 1 reported that during the inspection last month, the roof of Tri-State's kitchen was
leaking. Witness 1 saw that someone had stapled a clear plastic to the ceiling. This apparent
attempt to repair the leak was reportedly unsuccessful. Witness 1 reported that a bucket was
placed under the leak, and directly in front of the door to the kitchen. This bucket was reportedly
half filled with water, and a steady drip from the ceiling added to the bucket's contents.
Witness 2 also saw the bucket on the floor and water dripping from the plastic on the ceiling.




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During inspections in the brief period between Tri-State's license suspension in 2013 and
renewal in 2014, the inspector found the perimeter fence along the front of the property was
compromised in two ways: a section of chicken wire at the top of the fence was "rusty and
detached" and tree branches were "pushing down on the barb and chicken wire" in another
area.88 The perimeter fence along the parking lot was compromised by a board that was "leaning
outward."89
In November 2014, Tri-State was also cited for insufficient perimeter fencing after the inspector
found that the "entrance gates, which are part of the perimeter, were open" and, as a result, three
people were able to enter and "walk to the back of the property before being noticed."90 This was
a repeat violation. The inspector was also able to enter the facility unnoticed in January 2014. 91
81
Ex. 7, supra note 5, USDA Inspection Report (Feb. 14, 2006).
82
Ex. 7, supra note 5, USDA Inspection Report (Jan. 5, 2006).
83
Ex. 3, supra note 5, USDA Inspection Report (Mar. 4, 2015).
84
Id.
85
Ex. 3, supra note 5, USDA Inspection Report (Nov. 6, 2014).
86
Ex. 3, supra note 5, USDA Inspection Report (Mar. 4, 2015)
87
Ex. 3, supra note 5, USDA Inspection Report (Nov. 6, 2014).
88
Ex. 4, supra note 5, USDA Inspection Report (Aug. 21, 2013).
89
Id.
90
Ex. 3, supra note 5, USDA Inspection Report (Nov. 6, 2014).
91
Ex. 4, supra note 5, USDA Inspection Report (Jan. 27, 2014).
Request for Non-Renewal of Animal Welfare Act License No. 51-C-0064, 13
Tri-State has been cited for numerous other issues related to fencing or security:
_   In July 2012, Tri-State was cited because the dividing fence between two enclosures
holding tigers did not have a kick-in or substantial overhang, as is necessary to contain
adult tigers.92
_   Tri-State was cited for the same issue four months earlier, in March 2012.93 In addition,
the enclosure holding lions was made of a collection of wire panels tied to chain link in a
way that the inspector believed might not adequately contain the lions.94 A ledge in the
enclosure holding tigers was also wide enough to allow a tiger to gain footing and leap
out of the enclosure.95
_   The March citation was also a repeat violation, as Tri-State was cited for the same issues
three times in 2011,96 and twice in 2010.97
_   The deficiencies in the lion enclosure dated even farther back. Tri-State was cited for the
inadequate fencing twice in 2009.98
_   In September 2007, Tri-State was cited for another inadequate fence design, this time
because a fence around an enclosure holding a young lion was constructed of wood and
small gauge wire that was not of sufficient strength to contain the big cat.99
_   Tri-State also received many citations for fences that were loose or not connected well,
including the fence around a female cougar;100 another around a lion, this one consisting
in part of hog panels that were not attached to bottom or side support posts and that were
not buried in the ground;101 a fence around a tiger that was not secure at the bottom where
a large rock was located;102 a fence around tigers that was made of 14 gauge wire and




                                                                                                          Case 1:20-cv-01225-PX Document 71-33 Filed 12/20/21 Page 56 of 67
heavier paneling that was only attached to fence posts by bent nails;103 and a fence
holding lions that was barely 6 feet tall and that was bent and broken in some places and
that was not always attached to a solid anchor.104
_   Fencing issues were not reserved to big cats. Tri-State was also cited for fences that had
sharp edges, placing goats and llamas at risk of injury.105
_   Some fencing issues were so severe that animals escaped, including three llamas and a
goat, who roamed the facility before being contained again,106 and two artic foxes who
escaped and evaded capture.107
92
Ex. 5, supra note 5, USDA Inspection Report (Jul. 3, 2012).
93
Ex. 5, supra note 5, USDA Inspection Report (Mar. 2, 2012).
94
Id.
95
Id.
96
Ex. 5, supra note 5, USDA Inspection Report (Oct. 6, 2011), USDA Inspection Report (Jun. 9, 2011), USDA
Inspection Report (Feb. 10, 2011).
97
Ex. 6, supra note 5, USDA Inspection Report (Sept. 29, 2010), USDA Inspection Report (May 19, 2010).
98
Ex. 6, supra note 5, USDA Inspection Report (Nov. 20, 2009), USDA Inspection Report (Aug. 3, 2009).
99
Ex. 6, supra note 5, USDA Inspection Report (Sept. 26, 2007).
100
Ex. 6, supra note 5, USDA Inspection Report (Mar. 11, 2009).
101
Ex. 6, supra note 5, USDA Inspection Report (May 17, 2006); Ex. 7, supra note 5, USDA Inspection Report
(Feb. 14, 2006).
102
Ex. 7, supra note 5, USDA Inspection Report (Feb. 14, 2006).
103
Ex. 7, supra note 5, USDA Inspection Report (Jan. 5, 2006).
104
Id.
105
Ex. 7, supra note 5, USDA Inspection Report (May 23, 2007), USDA Inspection Report (Nov. 29, 2006).
106
Ex. 7, supra note 5, USDA Inspection Report (Feb. 14, 2006), USDA Inspection Report (Jan. 5, 2006).
107
Ex. 7, supra note 5, USDA Inspection Report (Feb. 14, 2006), USDA Inspection Report (Jan. 9, 2006).
Request for Non-Renewal of Animal Welfare Act License No. 51-C-0064, 14
_   Many citations were issued because big cats108 and other animals109 were held in
enclosures that were not entirely contained by the perimeter fence, or because the
facility's perimeter fence was in disrepair.110
Because Tri-State consistently fails to secure the animals at the facility, as required by the AWA,
Tri-State cannot demonstrate compliance with the AWA or truthfully certify compliance. As a
result, the USDA cannot lawfully issue a renewal license to Tri-State.
D. Roaches, Rodents, and Domestic Cats Roam Freely
Tri-State's inspection reports reveal the presence of rodents at the facility, including during the
inspection last month, in March 2015, when rodent feces was found in the feed room.111 Tri-State
had already been cited the previous year after the inspector found open bags of feed and food
spilled on the floor and instructed the facility to improve its husbandry practices to "prevent the
harborage and attraction of pests."112
In addition, as PETA reported to the USDA in February 2015, Tri-State allows many domestic
cats to roam the facility freely.113 Some of these cats show clear signs of illness and thus place
the exhibited animals at risk.114
The witnesses who volunteered at Tri-State during the last inspection also reported seeing many
domestic cats around the property. Witness 1 saw approximately six cats, in the facility's kitchen
and in the room that held the squirrel monkey and the reptiles. One of the cats was white and had
a red wound that was about the size of a nickel in between her shoulder blades. Witness 3 saw
the same wounded white cat enter the room holding the ferrets and rats. Witness 1 and Witness 3
later watched as the white cat climbed on to a box of thawing and expired fish fillets115 outside




                                                                                                                  Case 1:20-cv-01225-PX Document 71-33 Filed 12/20/21 Page 57 of 67
the kitchen. Witness 1 reported that the plastic wrapping on some of the packages had been torn
and the fillets appeared to have been chewed. Witness 3 noted that the cat may have eaten the
fish, which were dark brown in color and appeared slimy. Later, Witness 1 saw two cats in the
room that room that holds the squirrel monkey and the reptiles. One was reportedly gray and
white and had crusty eyes. Witness 3 also saw the gray and white cat in the kitchen. Witness 3
noted that the cat had black crusty discharge under both eyes.
Witness 2 also noted the presence of flies at Tri-State, including buzzing around the rotting food
in the enclosure holding the kinkajous and buzzing above a bowl of food, feces, and urine inside
the enclosure holding the ferrets.
108
Ex. 6, supra note 5, USDA Inspection Report (Sept. 26, 2007); Ex. 7, supra note 5, USDA Inspection Report
(Sept. 7, 2006), USDA Inspection Report (Jan. 5, 2006).
109
Ex. 6, supra note 5, USDA Inspection Report (Sept. 28, 2005).
110
Ex. 6, supra note 5, USDA Inspection Report (Aug. 3, 2009); Ex. 7, supra note 5, USDA Inspection Report
(Feb. 14, 2006), USDA Inspection Report (Jan. 5, 2006).
111
Ex. 3, supra note 5, USDA Inspection Report (Mar. 4, 2015).
112
Ex. 4, supra note 5, USDA Inspection Report (Jan. 27, 2014).
113
Ex. 9, supra note 7, PETA Complaint at 2.
114
Id.
115
Witness 1 reported that the expiration dates on the packages indicated that most of the fillets had expired two
weeks earlier.
Request for Non-Renewal of Animal Welfare Act License No. 51-C-0064, 15
The USDA cited Tri-State multiple times after finding evidence of pest infestations.
_   In September 2012, Tri-State was cited for violating 9 C.F.R. § 3.131(b), after the
inspector noted that many flies were in the enclosure holding the skunks.116 The inspector
noted that the housing structures were soiled and there was an excessive amount of food
waste on the ground.117
_   In November 2011, Tri-State was cited for violating 9 C.F.R § 3.131(d), after the
inspector saw roaches on the viewing window of the off-exhibit entry door for the
kinkajou.118
_   In September 2010, the inspector saw a live mouse running into one of two rodent holes
in the enclosure holding a lemur.119
_   In June 2008, the inspector saw a live rat running across the enclosure holding three
young tigers.120
_   In May 2007, Tri-State was cited for violating 9 C.F.R § 3.131(d), in part because files
were present in the building holding reptiles and in several off-exhibit or shelter areas.121
_   A year earlier, in May 2006, the inspector saw a mouse inside an enclosure holding the
binturong.122
_   In February 2006, the inspector saw rodent feces in the kitchen and noted that the visitor
room smelled of rodents.123 The inspector also heard a rodent scurrying around inside a
bag of hog feed124 and found an accumulation of bedding and rodent feces under the
enclosure holding the fennec fox and agouti.125
_   A month earlier, the inspector saw abundant evidence of rodent activity, including at least




                                                                                                       Case 1:20-cv-01225-PX Document 71-33 Filed 12/20/21 Page 58 of 67
three live mice in the feed storage area.126
Because Tri-State continues to allow rodents and other pests to infest the facility, in violation of
the AWA, Tri-State cannot demonstrate compliance with the AWA or truthfully certify
compliance. As a result, the USDA cannot lawfully issue a renewal license to Tri-State.
E. Animals Apparently Denied Veterinary Care
The witnesses observed several animals at Tri-State who appeared to be in need of veterinary
care. As mentioned in § II.C.3, supra, Witness 3 reported that a goat named Demo had
overgrown hooves. According to Witness 2, a bird, who was apparently a green-cheeked
Amazon, made an audible sound when breathing. Witness 3 saw a skunk who was missing hair
along both sides of his or her neck. Kathy told Witness 3 that the skunk suffered from a skin
condition.
116
Ex. 5, supra note 5, USDA Inspection Report (Sept. 14, 2012).
117
Id.
118
Ex. 5, supra note 5, USDA Inspection Report (Nov. 2, 2011).
119
Ex. 6, supra note 5, USDA Inspection Report (Sept. 29, 2010).
120
Ex. 6, supra note 5, USDA Inspection Report (Jun. 2, 2008).
121
Ex. 6, supra note 5, USDA Inspection Report (May 23, 2007).
122
Ex. 6, supra note 5, USDA Inspection Report (May. 17, 2006).
123
Ex. 7, supra note 5, USDA Inspection Report (Feb. 14, 2006).
124
Id.
125
Id.
126
Ex. 7, supra note 5, USDA Inspection Report (Jan. 5, 2006).
Request for Non-Renewal of Animal Welfare Act License No. 51-C-0064, 16
The witnesses all reported seeing Dodger the capuchin pick at his tail until it bled. Witness 1 and
Witness 2 also saw Dodger picking at his foot and all three witnesses saw that Dodger was
missing a toenail. Kathy had apparently not noticed the missing toenail until the witnesses
pointed it out. . In fact, Witness 3 reportedly noticed the toe was bothering the capuchin more
than a month earlier and shared that observation with Candy then.
PETA also reported the capuchin's condition to the USDA on Feb. 9, 2015.127 In this complaint,
PETA reported that a visitor to the facility, Witness 3, had alerted Candy to the capuchin's
bloody and raw toe, but the concern was dismissed when Candy said, "monkeys just do that
sometimes."128 PETA also reported a sheep whose head tilted at a sharp angle and asked the
USDA to determine whether the animal had received veterinary care, as required by 9 C.F.R.
§ 2.40(a) and (b)(2).129
Tri-State was previously cited repeatedly for failing to provide animals with veterinary care,
including goats with overgrown hooves,130 goats who were limping131 rabbits with matted fur,132
and rabbits who needed nail trims.133 In addition, Tri-State has been cited repeatedly for expired
medications,134 failure to provide a Program of Veterinary Care for review,135 and failure to have
the big cat diets approved by a veterinarian.136
In November 2014, PETA asked the FWS to investigate the presence of an injured crow at
Tri-State. The FWS seized137 the bird after confirming that the crow was held at Tri-State in
violation of the Migratory Bird Treaty Act138 Candy admitted that the bird had been held at his
facility for three to four years.139 After seizing the crow from Tri-State's 501(c)(3) alter-ego,
Animal Park Care & Rescue, FWS took the bird to a veterinarian who told the agency that the




                                                                                                                         Case 1:20-cv-01225-PX Document 71-33 Filed 12/20/21 Page 59 of 67
bird had suffered a traumatic injury approximately ten days prior and not received any treatment
for the injury during that time.140 During the investigation, Candy apparently attempted to
mislead the FWS, claiming that the crow had received treatment at his facility.141 Candy,
however, also said that his veterinarian believed that "nature was the best medicine."142 This
statement, if true, calls into question the quality of care given to any of the animals held at
Tri-State.
127
Ex. 9, supra note 7, PETA Complaint at 2.
128
Id.
129
Id.
130
Ex. 6, supra note 5, USDA Inspection Report (Nov. 20, 2009), Ex. 6, supra note 5, USDA Inspection Report
(Sept. 7, 2006); Ex. 7, supra note 5, USDA Inspection Report (Jan. 5, 2006)
131
Ex. 6, supra note 5, USDA Inspection Report (Aug. 3, 2009)
132
Ex. 7, supra note 5, USDA Inspection Report (Feb. 14, 2006), USDA Inspection Report (Jan. 5, 2006).
133
Ex. 6, supra note 5, USDA Inspection Report (Jan. 5, 2006)
134
Ex. 7, supra note 5, USDA Inspection Report (Feb. 14, 2006), USDA Inspection Report (Jan. 5, 2006).
135
Ex. 6, supra note 5, USDA Inspection Report (Sept. 3, 2008), USDA Inspection Report (Jun. 2, 2008).
136
Ex. 7, supra note 5, USDA Inspection Report (Feb. 14, 2006).
137
Ex. 11, supra note 9, FWS Investigation, at 1-3.
138
16 U.S.C. §§ 703-12.
139
Ex. 11, supra note 9, FWS Investigation, at 8.
140
See id. at 7 ("the injury had not been treated prior ... estimated that the injury was 10 days old plus or minus a day
or so), and 9 ("nail still dangling [] no treatment prior[,] nail would have been removed if it had been treated").
141
See id. at 9 ("The bird is under vet care[,] we have two on staff. ...It has already been treated[,] it is / was being
cared for.").
142
See id. at 11 ("My vet believes nature is the best medicine for wild animals.").
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Because Tri-State denies animals, like the capuchin, prompt and proper veterinary care, as
required by the AWA, Tri-State cannot demonstrate compliance with the AWA or truthfully
certify compliance. As a result, the USDA cannot lawfully issue a renewal license to Tri-State.
F. Inadequate and Unqualified Staff
The failures above all suggest that Tri-State does not have a "sufficient number of adequately
trained employees" to "maintain the professionally acceptable level of husbandry practices"
required by the AWA.143 Indeed, the volunteers who work at Tri-State demonstrate a distinct
lack of expertise. Kathy boasted to the witnesses that she had been bitten by most of the animals
at the facility. Witness 3 recalled that she specifically mentioned snakes, tigers, a lemur, and a
groundhog. Kathy reportedly revealed that the tiger named Mowgli had recently bitten her finger
so hard that the fingernail came off. Witness 3 saw that the fingernail on Kathy's right index
finger was indeed small and appeared to be growing back in. She also reportedly had scars on her
arms. Witness 2 said she also told them that Candy had also once been attacked by a lion but that
he told the hospital he had fallen down a hill and been stabbed by a stick.
PETA reported additional failures of Tri-State's staff in the February 2015 complaint.144 PETA
included a screenshot of a video of Candy suspending a skunk by the tail, in apparent violation of
9 C.F.R. § 2.131(b)(1),145 and provided additional photographs of Tri-State volunteers touching
big cats without supervision, in apparent violation of 9 C.F.R. § 2.131(d)(2)-(3).146
Tri-State has been cited numerous times for staff failures or inadequacies:
_   In February 2011, Tri-State was cited after staff allowed the public into an off-exhibit
area to view a white tiger, with no barrier in between.147 This was a repeat citation.




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_   Tri-State was cited in June 2008 after staff allowed the public to enter off-exhibit areas
for enclosures holding a lion and three young tigers.148 Tri-State staff allowed the
children to touch the tigers.149
_   Tri-State was cited for violating 9 C.F.R § 3.85 in September 2007, after the pigtail
macaque was apparently electrocuted,150 and in January 2006, when the inspector noted
that new or inexperienced volunteers worked alone on certain days of the week.151
_   Tri-State was cited for violating 9 C.F.R § 3.132 twice in 2006, when the inspector noted
that the facility relied on inexperienced employees who were not supervised by someone
with a background in animal care.152
143
9 C.F.R. § 3.132.
144
Ex. 9, supra note 7, PETA complaint.
145
Id. at 2.
146
Id. at 3.
147
Ex. 5, supra note 5, USDA Inspection Report (Feb. 10, 2011).
148
Ex. 6, supra note 5, USDA Inspection Report (Jun. 2, 2008).
149
Id.
150
Ex. 6, supra note 5, USDA Inspection Report (Sept. 26, 2007).
151
Ex. 7, supra note 5, USDA Inspection Report (Jan . 5, 2006).
152
Ex. 7, supra note 5, USDA Inspection Report (Jan. 5, 2006); Ex. 6, supra note 5, USDA Inspection Report
(May 17, 2006).
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_    Tri-State has also been cited for basic husbandry failures that betray the staff's
inexperience or unprofessionalism, including food that was stored in open containers,153
dirty containers,154 or directly on the ground.155
Because Tri-State does not have a sufficient number of adequately trained employees to maintain
an acceptable level of husbandry, as required by the AWA, Tri-State cannot demonstrate
compliance with the AWA or truthfully certify compliance. As a result, the USDA cannot
lawfully issue a renewal license to Tri-State.
III.     Conclusion
The many violations and apparent violations documented above establish that Tri-State has not
and cannot demonstrate compliance with the AWA. Since an applicant must be able to
demonstrate compliance and certify truthfully that the facility complies with the AWA before a
license may issue, the USDA must deny Tri-State's application for renewal.
153
Ex. 4, supra note 5, USDA Inspection Report (Apr. 25, 2013); Ex. 7, supra note 5, USDA Inspection Report
(Jan. 5, 2006)
154
Ex. 7, supra note 5, USDA Inspection Report (Jan. 5, 2006).
155
Ex. 7, supra note 5, USDA Inspection Report (Feb. 14, 2006).
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